       In The Matter Of:
Fayetteville Public Library, et al v.
 Crawford County, Arkansas, et al




      Eva Doyce White
       March 26, 2024
 CERTIFIED ORIGINAL/COPY



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Fayetteville Public Library, et al v.         CERTIFIED ORIGINAL/COPY                                           Eva Doyce White
Crawford County, Arkansas, et al                                                                                 March 26, 2024
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 1          IN THE UNITED STATES DISTRICT COURT                  1            A P P E A R A N C E S (CONTINUED)
               WESTERN DISTRICT OF ARKANSAS
 2                   FAYETTEVILLE DIVISION                       2   MR. BENJAMIN M. SEEL
                                                                     Attorney at Law
 3 FAYETTEVILLE PUBLIC LIBRARY, a political                      3   Democracy Forward Foundation
   subdivision in the City of Fayetteville,                          P.O. Box 34554
 4 State of Arkansas; EUREKA SPRINGS CARNEGIE                    4   Washington, DC 20043
   PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY                          bseel@democracyforward.org
 5 SYSTEM; NATE COULTER; OLIVIA FARRELL;                         5                         (VIA ZOOM)
   HAYDEN KIRBY;MIEL PARTAIN, in her own capacity                    *** For the Arkansas Library Association, Advocates for
 6 and as parent and next friend of MADELINE PARTAIN;            6   All Arkansas Libraries and Adam Webb, in his individual
   LETA CAPLINGER; ADAM WEBB;                                        capacity ***
 7 ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR                   7
   ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;                       MR. MICHAEL A. BAMBERGER
 8 WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a                    8   Attorney at Law
   WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;               Dentons US, LLP
 9 ASSOCIATION OF AMERICAN PUBLISHERS,INC.; AUTHORS              9   1221 Avenue of the Americas
   GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND                        New York, NY 10020
10 and FREEDOM TO READ FOUNDATION,                 PLAINTIFFS   10   michael.bamberger@dentons.com
                                                                                           (VIA ZOOM)
11 vs.                                  NO. 5:23-CV-05086-TLB   11   *** For the Plaintiffs, Pearl's Books, LLC; Wordsworth
                                                                     Community Bookstore, LLC; American Booksellers
12 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his               12   Association; Association of American Publishers, Inc.;
   official capacity as Crawford County Judge;                       Authors Guild, Inc; Comic Book Legal Defense Fund; and
13 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;                13   Freedom to Read Foundation ***
   MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
14 HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;               14   MR. GLENN V. LARKIN
   JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;               Attorney at Law
15 DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,         15   Quattlebaum, Grooms & Tull, PLLC
   II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.                   4100 Corporate Center Drive, Suite 310
16 LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;         16   Springdale, Arkansas 72762
   CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK                glarkin@qgtlaw.com
17 GRAHAM, each and in his or her official capacity as a        17                        (VIA ZOOM)
   prosecuting attorney for the State of Arkansas, DEFENDANTS        *** For the Plaintiff, Fayetteville Public Library ***
18                                                              18
                                                                     ALSO PRESENT:
19                                                              19   Leta Joe Caplinger, Plaintiff
                       ORAL DEPOSITION
20                                                              20
                               OF
21                                                              21
                        EVA DOYCE WHITE
22                                                              22
23 ***** THE ABOVE-STYLED MATTER was reported by Michelle R.    23
   Satterfield, CCR, LS Certificate No. 570, at Crawford
24 County District Court, located at 301 Mt. Vista Boulevard,   24
   Van Buren, Arkansas, commencing on the 26th day of March
25 2024, at 9:20 a.m. *****                                     25

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 1                 A P P E A R A N C E S                         1                            I N D E X
 2 MR. JOHN T. ADAMS                                             2        TOPIC                                              PAGE
   Attorney at Law
 3 Fuqua Campbell, P.A.                                          3   APPEARANCES                                              2-3
   Riviera Tower - 3700 Cantrell Road, Suite 205
 4 Little Rock, Arkansas 72201                                   4   STIPULATIONS                                               5
   jadams@fc-lawyers.com
 5                                                               5   WITNESS SWORN:    Eva Doyce White                          6
   *** For the Plaintiffs, Central Arkansas Library System,
 6 Nate Coulter and the Eureka Springs Carnegie Public           6            Examination by Mr. Adams                          6
   Library ***
 7                                                               7            Examination by Mr. Watson                        98
   MR. NOAH WATSON
 8 Senior Assistant Attorney General                             8            Examination by Mr. McLelland                    107
   323 Center Street, Suite 200
 9 Little Rock, Arkansas 72201                                   9            Examination by Ms. Brownstein                   121
   Noah.Watson@ArkansasAG.gov
10                                                              10            Further Examination by Mr. Adams                113
   *** For the State of Arkansas Prosecuting Attorneys ***
11                                                              11            Further Examination by Mr. Watson               122
   MS. BETTINA E. BROWNSTEIN
12 Attorney at Law                                              12   WITNESS SIGNATURE PAGE                                   124
   Bettina E. Brownstein Law Firm
13 904 West 2nd Street, Suite 2                                 13   ERRATA SHEET                                             125
   Little Rock, Arkansas 72201
14 bettinabrownstein@gmail.com                                  14   REPORTER'S CERTIFICATE                                   126
15 *** For the Plaintiffs, Olivia Farrell, Jennie Kirby,        15                        E X H I B I T S
   Hayden Kirby and Leta Caplinger ***
16 *** On Behalf of the Arkansas Civil                          16   NUMBER                  DESCRIPTION                     PAGE
       Liberties Union Foundation, Inc. ***
17                                                              17   Exhibit 1        Copy of Act 372                           9
   MR. SAMUEL S. MCLELLAND
18 Attorney at Law                                              18   Exhibit 2        ALA's Code of Professional Ethics        18
   PPGMR Law, PLLC
19 201 East Markham Street, Suite 201                           19   Exhibit 3        Library Bill of Rights                   21
   Little Rock, Arkansas 72201
20 sam@ppgmrlaw.com                                             20   Exhibit 4        Bates Nos. CrawfordCo_000069-000072      27
21 *** For Crawford County, Arkansas, and County Judge          21   Exhibit 5        Hamby Letter Dated 11/10/22              41
       Chris Keith, in his official capacity ***
22                                                              22   Exhibit 6        Bates Nos. CrawfordCo_000060-000066      58
23                                                              23   Exhibit 7        Email Dated From Jennifer Chilcoat       74
24                                                              24   Exhibit 8        Bates No. CrawfordCo_000068             118
25                                                              25   Exhibit 9        Bates No. CrawfordCo_000067             118



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 1              ANSWERS AND DEPOSITION OF EVA DOYCE WHITE, a
                                                                   1 A Eva Doyce White.
 2   witness produced at the request of the PLAINTIFFS, was
                                                                   2 Q Okay. Have you ever had your deposition taken
 3   was taken in the above-styled and numbered cause on the
                                                                   3 before?
 4   26th day of March 2024, before Michelle R. Satterfield,
                                                                   4 A No.
 5   CCR, a Notary Public in and for Faulkner County, Arkansas,
                                                                   5 Q Okay. In that case it's probably helpful for me to
 6   at the Offices of the Crawford County District Court,
                                                                   6 go over some of the rules and things that may be a little
 7   Located 301 Mt. Vista, Van Buren, Arkansas, at 9:20 a.m.,
                                                                   7 counterintuitive because all of the words that we are
 8   pursuant to the agreement hereinafter set forth.              8 speaking is being written down by the court reporter, so
 9                                                                 9 it's important to answer out loud. When I ask you
                     S T I P U L A T I O N S
10                                                                10 questions, we like to nod or shake our head no, but that's
               IT IS STIPULATED AND AGREED by and between the
11                                                                11 not something that she can write down, so sometimes I may
     parties through their respective counsel that the
12                                                                12 pause or ask you to give -- you know, give your answer out
     deposition of Eva Doyce White may be taken at the time and
13                                                                13 loud.
     place designated pursuant to the Federal Rules of Civil
14                                                                14      Sometimes people, also, will anticipate the end of a
     Procedure.
15                                                                15 question that I'm asking and start speaking before I'm
                             * * * * *
16                                                                16 finished, and I do that when I'm on the other side of the
17                                                                17 table, so I certainly don't blame you for that, we get
18                                                                18 impatient, but it also helps the court reporter a lot if
19                                                                19 we can try not to speak over each other.
20                                                                20      Do you have any other questions about this today?
21                                                                21 A No.
22                                                                22 Q Have you been sworn in?
23                                                                23 A Yes.
24                                                                24 Q I want to make sure you got sworn in. Everything
25                                                                25 you're going to say is under oath, like it would be in


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 1             EVA DOYCE WHITE,                                    1   court.
 2 the witness hereinbefore named, having been previously          2       So let's go ahead and get started. I'm going to talk
 3 cautioned and sworn, or affirmed, to tell the truth, the        3   about five things basically with you today. So I'll give
 4 whole truth, and nothing but the truth, testified as            4   you kind of an outline. I know you probably like books,
 5 follows:                                                        5   so I'll give you the table of contents for this
 6              EXAMINATION                                        6   deposition.
 7 BY MR. ADAMS:                                                   7       I'm first I'm going to talk about the case generally
 8 Q Ms. White, thank you for being here today. My name            8   and just give, you know, a little, I guess, introduction
 9 is John Adams and I represent three of the Plaintiffs in a      9   to how we got here and see if you have any questions about
10 case that's called Fayetteville Public Library versus          10   that and talk about some of the terms that are going to
11 Crawford County, Arkansas.                                     11   come up, I think, over and over, so we can maybe use a
12     Are you familiar with this case?                           12   shorthand and speed some of the latter part of the
13 A Yes.                                                         13   deposition along.
14 Q Okay. With me is my cocounsel, Bettina Brownstein,           14       In the second part I'm going to ask you about your
15 and also with us today are Noah Watson, from the Attorney      15   background. I understand you were the library director,
16 General's Offices, and Crawford County's Lawyer, Sam           16   so I want to know about what all you studied and did and
17 McLelland.                                                     17   thought about that job over the course of your career.
18           MS. BROWNSTEIN: And Leta.                            18       Third, I'm going to ask you some questions about
19 BY MR. ADAMS:                                                  19   library principles and librarianship, specifically we're
20 Q Oh, and one of the other Plaintiffs in this case, and        20   going to talk about the American Library Association Code
21 Bettina's client, Leta, is here as well. I don't know if       21   of Conduct and Bill of Rights and your views on what's
22 y'all have met.                                                22   stated in those documents, so sort of building off what we
23 A Yes, we have.                                                23   talked about in the second part with your experience.
24 Q But we can get into that a little bit later.                 24       Chapter four is probably going to be the longest
25     Can you please state your full name for the record?        25   because it's where we're going to get into the facts of


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 1 the last year or so here in Crawford County and ask you         1 A Yes.
 2 what you know about what happened with the library and the      2 Q Okay. So far I'm going to be talking about Act 372
 3 events that led to this lawsuit.                                3 generally, Section 1 of Act 372, and Section 5 of Act 372.
 4    And then, finally, I want to turn back to the law,           4     Do you have any questions for me at this point?
 5 which is the subject of the lawsuit and ask some questions      5 A No.
 6 about that and your feel on that. So let's start with           6 Q Okay. Thank you. So that's the end of the
 7 this: I'm going to enter Exhibit 1 into our record and it       7 introduction. Let's move on to talk about your employment
 8 is Act 372 of 2023.                                             8 and educational background. Are you currently employed?
 9   (Exhibit No. 1 was marked & attached hereto.)                 9 A Yes.
10    Ms. White, have you read this law before?                   10 Q Where are you employed?
11 A Yes.                                                         11 A Crawford County Library System.
12 Q Okay. When did you first read it; do you remember?           12 Q And what is your position?
13 A When it came out.                                            13 A I'm the advisor to the new director.
14 Q Okay. You said came out. Do you remember if that             14 Q Okay. How many hours a week is that job?
15 was when it was filed or when it was passed by the             15 A It varies.
16 legislature and signed by the governor?                        16 Q Okay. And how long have you been in that position?
17 A When it was passed.                                          17 A Since February the 5th.
18 Q Okay. And I can tell you that my clients filed suit          18 Q Okay. Of this year?
19 to ask a judge to declare that two sections of this law        19 A Yes.
20 violate the First Amendment. The first is Section 1 of         20 Q And I guess in the intervening six or seven weeks,
21 the Act.                                                       21 how many hours a week would you say you work, on average,
22    So you see where it says, at the bottom of the first        22 n that position?
23 page, furnishing a harmful item to a minor?                    23 A I just started part time.
24 A Yes.                                                         24 Q Okay.
25 Q And then if you flip to the second page, on Line 26          25 A So 40 hours a week up until last week.


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 1 it says, "A person commits furnishing a harmful item to a       1 Q Okay. So there's been a lot to do?
 2 minor if knowing the character of the item involved, the        2 A Yes.
 3 person knowingly," and then it goes on from there.              3 Q And if you will, tell me the name of the current
 4 A Yes.                                                          4 Director.
 5 Q And then if you flip to the third page, on Line 9 it          5 A Charlene McDonnough; McDonnough.
 6 says, "Furnishing a harmful item to a minor is a Class A        6 Q Okay. And what was your job before February 5th of
 7 misdemeanor."                                                   7 this year?
 8 A Yes.                                                          8 A I was the Director of the Crawford County Library
 9 Q Okay. So when we talk about Section 1 of the Act,             9 System, interim.
10 we're talking about that criminal prohibition on               10 Q Okay. You were the Interim Director. And what were
11 furnishing items harmful to a minor.                           11 the dates of your term as Interim Director?
12 A Yes.                                                         12 A From February the 27th of '23.
13 Q Okay. Thanks. The other section that we allege               13 Q Okay.
14 violates the First Amendment is Section 5 of the Act. So       14 A To February the 5th of '24.
15 if you will flip with me to Page 7. Do you see Section 5       15 Q Okay. What did you do before you were the Interim
16 there?                                                         16 Director?
17 A Yes.                                                         17 A I was retired.
18 Q And it's titled, "Establishment of Guidelines for            18 Q Okay. And how long were you retired?
19 Selection, Relocation and Retention of Materials."             19 A Two years, approximately.
20 A Yes.                                                         20 Q Okay. So you retired in 2021?
21 Q So I will hold off on getting into the details of            21 A Yes, in January of 2021.
22 this section, but when I talk about Section 5, you'll know     22 Q Okay. And you were the permanent director of the
23 what I mean. I'm talking about the part of Act 372 that        23 Crawford County Library System until January of 2021?
24 sets forth state law about libraries' guidelines for the       24 A Yes, I was.
25 selection, relocation and retention of materials?              25 Q And when did you start as the Director?


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 1 A Let's see, it was in 2013.                                 1 Polytechnic?
 2 Q Okay.                                                      2 A Arkansas Tech.
 3 A In July, I believe.                                        3 Q And that's in Russellville?
 4 Q And what did you do before that?                           4 A Yes.
 5 A I was retired for one year.                                5 Q Okay. What about degree number two?
 6 Q You keep -- you keep unsuccessfully retiring, I take       6 A Let's see, while I was a school librarian I had a
 7 it?                                                          7 couple of children, and so while I was home, part of the
 8 A Yes.                                                       8 time I got my Electromechanical Degree at the vo-tech
 9 Q Okay. What did you do from 2012, prior?                    9 school in Harrison.
10 A I was retired for one year and then I was the             10 Q Okay.
11 Director of the Crawford County Library System since 1999   11 A That was when computers were starting and I needed to
12 to that point.                                              12 know about it if I was going to be a librarian.
13 Q Okay. So from 1999 --                                     13 Q Okay. What about number three?
14 A July.                                                     14 A I got my Masters in Educational Research, I believe
15 Q July of 1999?                                             15 is the title.
16 A Yes.                                                      16 Q Okay.
17 Q To some time in 2012?                                     17 A From the University of Arkansas.
18 A Yes.                                                      18 Q Okay. And what year was that, roughly?
19 Q So you were also the Director of the Crawford County      19 A I can't remember.
20 Library?                                                    20 Q Okay. We'll go on to number four.
21 A I think it was September, but it might have been          21 A I got my MLS at the Texas Woman's University.
22 August.                                                     22 Q And was that in connection with you becoming the
23 Q Okay. We won't hold you to that. What did you do          23 Director of the North Arkansas Regional Library?
24 before July of 1999?                                        24 A Well, I was employed at that time with -- at the
25 A I was the Director of the North Arkansas Regional         25 college, and if I went up any higher at the college, I had


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 1 Library in Harrison for a year and a half.                   1 to have that degree.
 2 Q Okay. So the beginning of '98 or so to '22?                2 Q Okay. So this was in the '90s, roughly?
 3 A Uh-huh.                                                    3 A Yes.
 4 Q Okay. And what about before that?                          4 Q Okay. That helps me understand your background and
 5 A I was the Assistant Librarian at North Arkansas            5 how you got to where you are.
 6 Community College in Harrison.                               6 A Right.
 7 Q And what years did you do that?                            7 Q Thank you. Before we leave your educational
 8 A I was there nine years.                                    8 background, are you a member of any library professional
 9 Q Okay. So until '89 or so, till '98?                        9 organizations, or are there professional organizations?
10 A Uh-huh.                                                   10 A Well, I just joined the AAAL, whatever it is.
11 Q What about before that?                                   11 Q Yeah. Is it the Advocates for All Arkansas
12 A I was the School Librarian at Western Grove before        12 Libraries?
13 that.                                                       13 A That's it. I have not rejoined any of those, but I
14 Q Okay. And I think that gets back 40 years or so. I        14 was when I was.
15 guess we'll stop there.                                     15 Q But at one point you were a member of all?
16    Did you obtain a college degree?                         16 A Yes, most of the time. When I was a director
17 A I have, actually, four.                                   17 somewhere, I was a member of those.
18 Q Okay. Tell me about your four college degrees.            18 Q Have you ever joined the Arkansas Library
19 A Start at the beginning?                                   19 Association?
20 Q Sure, we'll do this one in forward order, since we've     20 A Yes.
21 gone backwards, I guess?                                    21 Q Okay. And I guess when you join the Arkansas Library
22 A Okay. I got my BA at Arkansas Polytechnic College.        22 Association, is that a membership personal to you or is
23 Q Okay.                                                     23 that --
24 A In 1966, January.                                         24 A Yes.
25 Q And does that go by another name now, Arkansas            25 Q Okay. Is it also possible for a library itself to be


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 1 a member of the Arkansas Library Association?                  1    So, Ms. White, did I accurately read that paragraph?
 2 A It wasn't at that point.                                     2 A Yes.
 3 Q Okay. Would you say most of the time when you were           3 Q Do you agree with the ideas in that paragraph?
 4 an active librarian -- I guess you still are to some           4 A Yes.
 5 extent, but most of the time that you've been an active        5 Q Are there any that you have qualms about or feel like
 6 librarian, you've been a member --                             6 you want to qualify?
 7 A After I left the school, the K through 12 school, I          7 A No.
 8 have been a member of those organizations.                     8 Q Okay. The next paragraph says: "The principles of
 9 Q Okay. So when I say ArLA, does that sound familiar?          9 this Code are expressed in broad statements to guide
10 A Yes.                                                        10 ethical decision making. There statements provide a
11 Q Okay. That's what I sometimes hear people call the          11 framework; they cannot and do not dictate conduct to cover
12 Arkansas Library Association.                                 12 particular situations."
13     Okay. What about the American Library Association?        13    Did I read that correctly?
14 A I have been a member of the American Library                14 A Yes.
15 Association.                                                  15 Q So No. 1 says: "We provide the highest level of
16 Q Are you currently a member of the American Library          16 service to all library users through appropriate and
17 Association?                                                  17 usefully organized resources; equitable service policies,
18 A No.                                                         18 equitable access; and accurate, unbiased, and courteous
19 Q Okay. And would you say most of the time, when you          19 responses to all requests."
20 were the director of the library, you were a member of the    20    Did I read that correctly?
21 American Library Association as well?                         21 A Yes.
22 A I wouldn't say most of the time, but several years.         22 Q And do you agree with that as a part of your personal
23 Q Okay.                                                       23 ethics?
24 A It's pretty expensive.                                      24 A Yes.
25 Q Oh, it's a lot of dues to pay?                              25 Q Thank you.


                                                       Page 18                                                          Page 20

 1 A Yeah.                                                        1    No. 2: "We uphold the principles of intellectual
 2 Q Okay. Well, I guess in that vein, let's go on to             2 freedom and resist all efforts to censor library
 3 chapter three then, and talk about some documents that the     3 resources."
 4 American Library Association put out and I'll ask for your     4     Do you agree with that principle?
 5 perspective on these.                                          5 A Yes.
 6    Let's start with the ALA Code of Ethics, and this           6 Q No. 6: "We do not advance private interests at the
 7 we'll mark as Exhibit 2.                                       7 expense of library users, colleagues or our employing
 8   (Exhibit No. 2 was marked & attached hereto.)                8 institutions."
 9    And I'll represent to you I just got this from the          9     Do you agree with that principle in the Code of
10 ALA's website. Have you ever read this document before,       10 Ethics?
11 Ms. White?                                                    11 A Yes.
12 A If I have I don't remember it.                              12 Q Thank you. No. 7, the next one says: "We
13 Q Okay. I'm going to read some parts of it, starting          13 distinguish between our personal convictions and
14 about three-quarters of the way down on the first page,       14 professional duties and do not allow our personal beliefs
15 and I'll ask you to confirm if I've read it accurately and    15 to interfere with fair representation of the aims of our
16 then we'll talk about some of it.                             16 institutions or the provision of access to their
17    I want to start a little before that, about                17 information resources."
18 two-thirds of the way down. "We significantly influence       18     Do you agree with No. 7?
19 or control the selection, organization, preservation and      19 A Yes.
20 dissemination of information. In a political system           20 Q Thank you. Okay. Is there anything else that you
21 grounded in an informed citizenry, we are members of a        21 want to say about these from your experience? Have they
22 profession explicitly committed to intellectual freedom       22 ever come up in ways that are particularly relevant to
23 and the freedom of access to information. We have a           23 you?
24 special obligation to ensure the free flow of information     24     Do you remember -- I guess you said you didn't
25 and ideas to present and future generations."                 25 remember reading these in particular, but I'm curious if


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 1 these ever came up in your discussions with people you          1 Q "No. IV. Libraries should cooperate with all persons
 2 were in charge of, for example, and you wanted to explain       2 and groups concerned with resisting abridgment of free
 3 why you thought that they ought to respond to a question a      3 expression and free access to ideas." Do you agree with
 4 certain way or a treat a library patron a certain way?          4 No. IV?
 5 Did you ever refer to these?                                    5 A Yes.
 6 A I have not at this particular one, no.                        6 Q Okay. Thank you. Are you familiar with Crawford
 7 Q Okay. Let's go on to the ALA Library Bill of Rights,          7 County's policies for selecting and weeding materials?
 8 which I'll give you a copy of and, again, represent that I      8 A Yes, but I can't quote them.
 9 got this last night from the American Library                   9 Q Well, I don't need you to quote them, but I guess I
10 Association's website, as you'll see on the URL timestamp.     10 want to ask a general question about them, which is would
11            MR. MCLELLAND: Are you marking this as 3?           11 you say they're consistent with or informed by the
12            MR. ADAMS: I will mark it as 3.                     12 principles that we just read from the Code of Ethics in
13            MR. MCLELLAND: Okay.                                13 the Library Bill of Rights?
14            MR. ADAMS: Thank you.                               14 A Yes.
15   (Exhibit No. 3 was marked & attached hereto.)                15 Q Okay. Can you describe how; what that connection is?
16 BY MR. ADAMS:                                                  16 A We try to provide something for everyone.
17 Q So, similarly, I want to ask for you to look at some         17 Q Okay. Do the principles inform how you organize the
18 of these with me and tell me whether they reflect the          18 material in the library?
19 values that you brought to being a librarian and still         19 A I suppose.
20 bring to this day.                                             20 Q Okay. Can you tell me how?
21 A Okay.                                                        21 A We use the Dewey Decimal System.
22 Q The Library Bill of Rights Preamble says: "The               22 Q Okay. And so what does that do for the patrons using
23 American Library Association affirms that all libraries        23 the Dewey Decimal System?
24 are forums for information and ideas, that the following       24 A It organizes the nonfiction books in subject order.
25 basic policies should guide their services:"                   25 Q And are the fiction books organized by subject?


                                                        Page 22                                                         Page 24

 1    "No. I. Books and other library resources should be          1 A No, they are organized by author's last name.
 2 provided for the interest, information, and enlightenment       2 Q Are there different sections for genres, in any case?
 3 of all people of the community the library serves.              3 A Yes.
 4 Materials should not be excluded because of the origin,         4 Q So what are the major genre categories?
 5 background, or views of those contributing to their             5 A The ones that sticks out is Western fiction.
 6 creation."                                                      6 Q Okay.
 7    Do you agree with principle one?                             7 A Large print.
 8 A Yes.                                                          8 Q Do any of your libraries have a young adult, or YA
 9 Q Do you have any caveats or --                                 9 Section?
10 A No.                                                          10 A Yes.
11 Q -- some personal reactions to that that we may need          11 Q Do all of your libraries have a Children's Section?
12 to know?                                                       12 A Yes.
13 A No.                                                          13 Q Okay. And do the YA Sections all include fiction and
14 Q Thank you. "No. II. Libraries should provide                 14 nonfiction?
15 materials and information presenting all points of view on     15 A No. We, in some of our libraries, put the YA
16 current and historical issues. Materials should not be         16 nonfiction with the adult.
17 proscribed or removed because of partisan or doctrinal         17 Q Okay. So some of the YA Sections are just fiction?
18 disapproval."                                                  18 A Uh-huh.
19    Do you agree with No. II?                                   19 Q The Children's Sections, do they all have some
20 A Yes.                                                         20 fiction and some nonfiction?
21 Q "No. III. Libraries should challenge censorship in           21 A Yes.
22 the fulfillment of their responsibility to provide             22 Q Okay. And just -- this may be sort of obvious, but
23 information and enlightenment."                                23 it helps us to have the librarians explaining it for the
24    Do you agree with No. III?                                  24 judge and for the record.
25 A Yes.                                                         25     What do the patrons get out of books being organized


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 1 in the way you've described?                                  1 Q Okay. Let's take a five-minute break.
 2 A They are able to find --                                    2          (Brief recess was taken.)
 3            MR. MCLELLAND: Objection; calls for an             3 BY MR. ADAMS:
 4        opinion. This witness here is a fact witness           4 Q Okay. Ms. White, so now, like I said, we're going to
 5        only, not as an expert on library science. You         5 talk about the events of the last few years and what's
 6        can answer if you understand.                          6 happened with the Crawford County Library and there's a
 7 A Would you repeat the question?                              7 lot of ground that I want to cover and I may end up
 8 Q What do the patrons get out of the organization             8 bouncing around, so I apologize for that now because I
 9 system that you just described for the Crawford County        9 want to find out what you know about a good amount of what
10 libraries?                                                   10 happened.
11 A They are able to find what they need.                      11            MR. MCLELLAND: John, before you get
12 Q Okay. So the physical location of books sometimes          12        into -- just so I can make a standing objection
13 matters?                                                     13        for the record. It is Crawford County's
14 A Yes.                                                       14        position that the events of the Social Section
15 Q Because the patrons browse?                                15        are outside the bounds of this lawsuit, as this
16 A Yes.                                                       16        is a facial challenge only if Act 372 is
17 Q Okay. They may not know, when they show up, a              17        relevant and necessary to decide this case.
18 particular book they're looking for, but they might go to    18            I think with that, then I just make a
19 the history section in the -- what is that, the 300s of      19        standing objection for the record.
20 the Dewey Decimals, so they can know what they're looking    20            MR. ADAMS: Okay, thank you.
21 for?                                                         21   (Exhibit No. 4 was marked & attached hereto.)
22 A Now, repeat that.                                          22 BY MR. ADAMS:
23 Q So say you were looking for a history book -- like am      23 Q I'm going to enter Exhibit 4 into the record, which
24 I getting that right; is that the 300s of the Dewey          24 is four pages provided by Crawford County in discovery in
25 Decimal System?                                              25 this case. The four pages all have to deal with


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 1 A No.                                                         1 reconsideration of library materials.
 2 Q So which series is history?                                 2    Can I ask you to look through those, so we're on the
 3 A Nine hundred.                                               3 same page? For clarity in the record, we're talking about
 4 Q Nine hundred. Social science is in 300?                     4 Crawford County Bates Nos. 69 through 72.
 5 A Yes.                                                        5 A Okay.
 6 Q Okay. Yeah, that's the problem.                             6 Q Okay. So let's start with the back, Page 72. This
 7     So if I knew I wanted a history book, I could go to       7 has a date revised of September 13th, 2022, correct?
 8 the 900s and browse?                                          8 A Yes.
 9            MR. MCLELLAND: Object to form on that one.         9 Q Do you recognize this policy?
10 BY MR. ADAMS:                                                10 A Yes.
11 Q Oh, one of the ground rules that I forgot to mention,      11 Q Were you involved in drafting this policy?
12 is that you can ask for a break at anytime. We'll try not    12 A No.
13 to go for more than an hour or two without letting           13 Q Do you know who was involved in drafting this policy?
14 everyone stretch their legs and all that sort of thing.      14 A Well, let me back up. I probably was, yes, at some
15 The only rule is that we ask you to answer a question if     15 point.
16 there's one on the table before we break.                    16 Q Okay.
17 A Okay.                                                      17 A But not 9/13/22.
18 Q So please ask.                                             18 Q Okay. Because that was during your retired period?
19 A Okay.                                                      19 A Right.
20 Q Okay. I think that's all of chapter three, too.            20 Q Or one of your retired periods?
21     So part of why I raised the idea of a break, even        21 A Right.
22 though we haven't been going very long, is because chapter   22 Q Okay. Have you ever been involved in preparing a
23 four, as I said, is going to be the long one, where we       23 Reconsideration of Library Materials Policy?
24 kind of get into the weeds.                                  24 A Yes.
25 A Okay, let's break.                                         25 Q And was this policy approved by the Crawford County


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 1 Library System Board at any point, any version of this         1 A Thank you. No, I don't know.
 2 policy?                                                        2 Q Okay. The last sentence on this page reads: "A
 3 A Yes.                                                         3 member who votes with the majority shall write a summary
 4 Q Okay. How many versions, in your career at Crawford          4 of the reasons for the majority's decision within 15 days
 5 County, do you think you've worked with?                       5 of the committee meeting where the challenger," and then
 6 A One.                                                         6 it ends. Are you aware of any more to this policy?
 7 Q Okay. And it was prior to this one?                          7 A I'm sure there's more.
 8 A Yes.                                                         8 Q Okay. We'll follow up with the attorneys about
 9 Q And do you remember how it might have differed from          9 whether there might be a part of that document left off.
10 this one?                                                     10     Do you recognize that language, "A member who votes
11 A No.                                                         11 with the majority shall write a summary of the reasons for
12 Q Okay. With respect to the ultimate decision-making          12 the majority's decision within 15 days of the committee
13 body, do you remember if the prior policy vested that         13 meeting"?
14 authority in the Library Board?                               14 A I believe this was discussed at a board meeting this
15 A Yes.                                                        15 past year.
16 Q Okay. Did the prior policy limit the people who             16 Q Okay.
17 couldn't make a challenge to a library book, either to        17 A I'm not sure that it was ever adopted.
18 residents of the community or library cardholders or some     18 Q Okay. Do you remember the circumstances of that
19 other category, other than just --                            19 board meeting?
20 A I don't remember that.                                      20 A It was trying to answer this 372 draft of -- to be in
21 Q Okay. Let's look to the previous page, Page 71.             21 compliance if it went into law.
22 This is a Patron's Request for Reconsideration of Library     22 Q Okay. So this draft policy on Page 69 was what the
23 Materials. So are you familiar with this form?                23 Crawford County Library was considering to come into
24 A Yes.                                                        24 compliance with Act 372?
25 Q How many of these would you estimate you received in        25 A Right.


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 1 your time with the Crawford County Library?                    1 Q And I guess when I say Board in this context, I'm
 2 A Prior to the last year, probably between 10 and 20.          2 talking about the Crawford County Library Board, right?
 3 Q Okay. And how many of those resulted in a library            3 A Yes.
 4 material -- I guess it could be a book or other library        4 Q Okay. And do you remember what month that board
 5 material being removed from the library?                       5 meeting was?
 6 A None.                                                        6 A I don't.
 7 Q How many of those requests resulted in a library             7 Q Okay. And I guess I apologize because I don't
 8 material being relocated to a different section of the         8 remember precisely how you answered the question. Do you
 9 library?                                                       9 not remember or do you think this policy was not adopted
10 A One or two.                                                 10 by the Board?
11 Q Okay. And do you remember the nature of the                 11 A I really can't answer that question.
12 relocation, like from what section into what section?         12 Q Okay. Totally fine. I just want to make sure I
13 A Usually it went from a lower section to an adult            13 understood.
14 section.                                                      14     Okay. Did you know Deidre Grzymala before she became
15 Q Okay. Then on Page 70 is another form titled,               15 the Director?
16 "Challenge of Materials in the Crawford County Library."      16 A Yes.
17     Do you recognize this form?                               17 Q How long have you known her?
18 A Not really, no.                                             18 A She was an employee of the Crawford County Library
19 Q Okay. So now we're down to the last page, Page 69,          19 System.
20 which says Reconsideration of Library Materials. It           20 Q Okay. For how long?
21 doesn't have a date revised on it, so I don't know if this    21 A I can't remember.
22 policy has been adopted.                                      22 Q Okay. Did she become the director at your
23     Do you know if this form of the reconsideration           23 retirement?
24 policy has been adopted by the Board? And if you need to      24 A No.
25 take a minute to read it, that's fine.                        25 Q Who was the director when you retired?


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 1 A Dr. George Fowler.                                          1 A He would usually take my recommendation and appoint
 2 Q Okay. And how long was Dr. Fowler the Director?             2 who I recommended.
 3 A A year and a half.                                          3 Q Okay. And does the quorum court have to act on that?
 4 Q So from January of '22 until?                               4 A Yes.
 5 A July of '20 ...                                             5 Q Okay. And is that a straight majority vote to
 6 Q July of 2022?                                               6 confirm?
 7 A Yes, I guess.                                               7 A Yes.
 8 Q Okay. So Deidre Grzymala became the Director in July        8 Q So you say usually. Was there any time, in that same
 9 of 2022?                                                      9 20-year period from 2000 to 2020, in which a county judge
10 A Yes.                                                       10 of Crawford County didn't take your advice about who to
11 Q And when was her last day as Director?                     11 appoint?
12 A It was the week before I became the interim Director.      12 A No.
13 Q Which I think you said was?                                13 Q Okay. And how would you decide on which kind of
14 A February 27th.                                             14 people to appoint, or to suggest for appointment?
15 Q Okay. So July from -- July of 2022 to February of          15 A I would usually ask my branch managers or maybe the
16 2023, Ms. Grzymala was the Director of the Library System?   16 former board member, or maybe I knew somebody in the
17 A You're correct.                                            17 community myself that was one of our supporters.
18 Q Okay. Now, has the Crawford County Library System          18 Q Okay.
19 existed in its present form as long as you've been           19 A And those would be the things that I would consider.
20 involved with it?                                            20 Q Okay. Did you have an opinion about Ms. Grzymala's
21 A Yes. I became the first director.                          21 appointment in 2022? Did you think it was a good idea?
22 Q I see.                                                     22 A I wasn't asked.
23    Okay. So at the time you became the Director in July      23 Q Okay. But I'm asking you now.
24 of 1999, a unified Crawford County Library System had just   24 A State the question again.
25 been formed?                                                 25 Q Did you have an opinion, in the summer of 2022, about


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 1 A That's correct.                                             1 Deidre Grzymala's qualifications? Did you think she was a
 2 Q Okay. And how many board members were there at that         2 good person for the job?
 3 time?                                                         3 A Yes.
 4 A Five.                                                       4 Q Did you talk to her about what the job would require?
 5 Q And were there five the whole time that you were            5 A No.
 6 involved?                                                     6 Q Did you talk to her at any point in 2022?
 7 A Yes.                                                        7 A Yes.
 8 Q Okay. And how do members get appointed to the               8 Q Okay. How many times would you say you talked to
 9 Crawford County Library Board?                                9 her?
10 A Up until lately we recommended to the judge who we         10 A Well, personally once, and as a member of the
11 would like to have appointed and he -- and he would          11 foundation and the friends of the library, several.
12 appoint that person.                                         12 Q Okay. And when you say the foundation, I take it
13 Q Okay. When you took the job in 1999, you wouldn't          13 that there's a --
14 have been in a position to recommend the directors at that   14 A Crawford County Library Foundation, and the Van Buren
15 point, right?                                                15 Friends of the Library.
16 A No, they were.                                             16 Q Okay. And if I understand libraries correctly, these
17 Q So let's talk about the period from 2000 to 2020,          17 are nongovernmental 501(c)(3)s that are supporting
18 just so it's before the current controversy. For the next    18 organizations that --
19 few questions, let's just talk about that 20-year period.    19 A That's correct.
20 A Okay.                                                      20 Q -- help fund and support the libraries' mission?
21 Q You, as the Library Director, as a matter of practice      21 A Correct.
22 would recommend library board members to the county judge?   22 Q And you're involved with those groups and you stayed
23 A Correct.                                                   23 involved after your --
24 Q And then just mechanically at that point what              24 A That's correct.
25 happens, the county judge does what?                         25 Q Okay. So you talked to Deidre in that capacity?


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 1 A Yes.                                                        1 Q Do you remember who that patron was?
 2 Q Okay. Did she ever ask your advice about how to deal        2 A No, I don't.
 3 with any problems that came up, especially given your long    3 Q Okay. And did that patron specify some books?
 4 tenure and experience in the role?                            4 A Yes.
 5 A Not really.                                                 5 Q Do you remember which books?
 6 Q Okay. So who chose Ms. Grzymala to be the Director?         6 A Well, some children's books that dealt with LGBTQ.
 7 A The Board, the Crawford County Library Board.               7 Q And do you know if those were books that were
 8 Q Okay. Does the county judge or quorum court have any        8 acquired during your time as the Library Director?
 9 role in that process?                                         9 A They were not.
10 A No.                                                        10 Q Okay. So they were acquired after you were the
11 Q Okay. Can the library board fire the library               11 Library Director?
12 director?                                                    12 A Yes.
13 A Yes.                                                       13 Q Okay. Do you happen to know if they were acquired
14 Q Can the county judge fire the library director?            14 during Ms. Grzymala's tenure, or the prior director?
15 A No.                                                        15 A I cannot be sure, no.
16 Q Okay. When did you first become aware of a                 16 Q Okay. Well, I won't ask you to speculate.
17 controversy about books in the library in 2022?              17     So this other patron may or may not have specified
18 A It was probably August or September.                       18 titles, but you know that it was -- that was the subject
19 Q Okay. And what did you learn at that point?                19 matter that the patron was concerned about?
20 A That some people did not agree with some of the books      20 A She did not say titles.
21 that were in the library.                                    21 Q Okay. Do you know a man named Dr. Jeff Hamby?
22 Q Okay. How did you learn of that?                           22 A No.
23 A By some emails.                                            23 Q You've never met him?
24 Q Okay. Who sent you the emails?                             24 A No.
25 A Patrons of the library.                                    25 Q Do you know who he is?


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 1 Q And were they patrons that were --                          1 A Yes.
 2 A And also Charlene Fite.                                     2 Q How did you first become aware of him?
 3 Q And was she a state representative at the time?             3 A He's a doctor. I knew he was a doctor from a long
 4 A Yes.                                                        4 time ago.
 5 Q Is she still a state representative from this area?         5 Q Okay. How did you first become aware of him in the
 6 A At this point, yes.                                         6 context of the library?
 7 Q Okay. And what did Representative Fite email you            7 A He spoke at the Quorum Court.
 8 about?                                                        8 Q Do you remember which meeting that was?
 9 A She wanted to know who was in charge since I was not        9 A It was in December.
10 there.                                                       10 Q Were you there?
11 Q And what did you say?                                      11 A No.
12 A She wanted to know who was in charge of the library        12 Q So how do you know he spoke?
13 since I was not there.                                       13 A It was all over the media.
14 Q And did you respond to her email?                          14 Q Okay. I guess the same question about Tammi Hamby;
15 A I gave her Ms. Grzymala's name.                            15 did you know her?
16 Q Okay. Did Ms. Fite list any books or categories of         16 A Not before she become a board member.
17 books that she was particularly concerned about?             17 Q Okay. So what did you read in December about the
18 A No. She just wanted to know that, so I knew there          18 Hambys and the board meeting?
19 was something up.                                            19 A That they had spoken at the Quorum Court and were
20 Q Okay. And that was roughly when, if you can                20 concerned about the books in the library.
21 remember?                                                    21 Q Are you familiar with a letter that they sent
22 A Maybe September or August, I don't remember.               22 expressing their concerns about the books in the library?
23 Q Okay.                                                      23 A Yes.
24 A And there was another patron that emailed me about         24 Q Have you read that letter?
25 some books.                                                  25 A I can't remember whether I read it or not.


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 1 Q Okay. Well, let's look at it. You can tell us if it          1 about here?
 2 rings a bell or not.                                           2 A No.
 3    (Exhibit No. 5 was marked & attached hereto.)               3 Q When you became the interim Director, did you see any
 4 Q If you will, read over that please.                          4 books in the children's section of the Crawford County
 5 A No, I have not read this letter.                             5 Library that you would consider child abuse to have in
 6 Q Okay. This letter talks about several things.                6 that section?
 7 There's one thing in particular I want to ask about your       7 A No.
 8 knowledge with respect to the Crawford County Library and      8 Q Did you see any books in any of the children's
 9 it's the third line in the second paragraph. It says:          9 sections of any of the Crawford County libraries that you
10 "Then they made a public display in the front of the          10 would consider inappropriate for the children's section?
11 library with these books."                                    11           MR. MCLELLAND: Objection to the extent it
12     I guess I should back up and say what they say for        12        seeks a legal opinion on that term of art,
13 context, is that books having to do with alternative          13        inappropriate, but continue.
14 lifestyles, which they also describe as a progressive,        14           MR. WATSON: And object to the form. Can
15 woke ideology normalizing and equating homosexual and         15        we please get the timeline that you're talking
16 transsexual lifestyles with heterosexual family units.        16        about in this question?
17     Are you aware of any public display of such books in      17 BY MR. ADAMS:
18 the Crawford County Library during your tenure?               18 Q I'm saying at the time you returned as the interim
19 A No.                                                         19 Director in February of 2023, did you become aware of any
20 Q Are you aware of any such display after your tenure?        20 books in any branch of the Crawford County Library, in the
21 A No.                                                         21 children's sections of those libraries that you thought
22 Q Are you aware of any display, for example, a Gay            22 should not be there?
23 Pride Month display in June in any public library             23 A No.
24 anywhere?                                                     24 Q Okay. I guess I should specify. Is that because
25 A No.                                                         25 books that you might have thought were inappropriate had


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 1 Q Okay. Does the way that the Hambys expressed their           1 been moved to the adult section of the library or because
 2 concern about books in this letter, express the same           2 you thought they were appropriate to be in the children's
 3 thoughts in the email that you described before about the      3 section?
 4 patrons' concerns about books that had been acquired by        4 A The books had been moved.
 5 the library?                                                   5 Q The books had been moved?
 6 A Repeat that.                                                 6 A Yes.
 7 Q When you talked before about -- other than a                 7 Q Okay. So were there some books that were moved to
 8 letter -- or the email, pardon me, from Representative         8 the adult's section of the Crawford County Library that
 9 Fite, you said you received a letter from another patron       9 you thought were inappropriate to have in the children's
10 that was concerned about children's books with LGBTQ          10 section?
11 themes.                                                       11 A No.
12     Was the concern in that email similar to the concern      12 Q Okay. We'll come back to this when we're talking
13 being expressed by the Hambys here?                           13 about the rest of what happened. I guess tell me anything
14 A Yes.                                                        14 else you remember about the media reports, or anything
15 Q Okay. This letter starts: "Our parental rights and          15 else you heard about that December 2022 Quorum Court Board
16 religious liberties are being subverted by a progressive,     16 meeting.
17 woke ideology driven by the library director and her          17 A I just heard that there was a long discussion about
18 employees. Many professionals would still consider this       18 it and that as a result there was a compromise made.
19 behavior child abuse."                                        19 Q Okay. Had you heard any discussion about a possible
20     Did I read that correctly?                                20 compromise before that meeting?
21 A Yes.                                                        21 A Yes.
22 Q Are you familiar with the particular books they were        22 Q And do you remember who you spoke about that with or
23 concerned about?                                              23 heard about it from?
24 A No.                                                         24 A The Board President at the time.
25 Q Okay. You don't know which books they were talking          25 Q Okay. Who was that?


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 1 A Jami Balkman.                                             1 A No.
 2 Q Okay. Jami. And I'm sorry, please spell --                2 Q Did you talk to Grzymala about a possible compromise
 3 A B-A-L-K-M-A-N.                                            3 at any point in December or January prior to -- or early
 4 Q So tell me about that communication? Was it in            4 February, prior to you becoming the interim Director?
 5 person or by email or by phone?                             5 A I don't remember having a conversation about it, no.
 6 A She sent me an email. She said she had been harassed      6 Q Do you remember having a conversation with any of the
 7 and worse, and that she was going to the Quorum Court       7 members of the board about the --
 8 meeting to try to come to a compromise.                     8 A Only Ms. Balkman.
 9 Q Okay. Did she say who had harassed her or is Jami a       9 Q Okay. Did you talk to her again after, or did you
10 him or her?                                                10 have any communications with her after the Quorum Court
11 A It's a her.                                              11 meeting about how it went and how she felt about what was
12 Q Okay.                                                    12 decided?
13 A Members of the community, her pastor.                    13 A I don't think I talked to her afterwards. She
14 Q Do you know where she goes to church?                    14 resigned that day.
15 A Not really, no.                                          15 Q Did anyone else resign that day?
16 Q Okay. And she didn't say in the email?                   16 A Two others.
17 A I don't remember.                                        17 Q This was on the day of the Quorum Court meeting?
18 Q Okay. Did she specify?                                   18 A The day after.
19 A She had been called into her employer's office. She      19 Q Who were the other ones that resigned?
20 was a schoolteacher.                                       20 A Ms. Porter and --
21 Q Does she teach at a private school or a public           21 Q It's all right, we can look it up.
22 school?                                                    22 A Mavis. I can't remember her last name right now.
23 A Public.                                                  23 Q So the three of them resigned. Did you ever talk to
24 Q Was it the principal's office?                           24 Ms. Porter or Mavis about why?
25 A Superintendent.                                          25 A No.


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 1 Q Called into the superintendent's office. And what         1 Q And Ms. Balkman didn't follow up with you after that?
 2 did the superintendent say?                                 2 A We spoke at one point over the phone, I think, but I
 3 A I don't know. I have no idea.                             3 don't remember, other than that she had done what she
 4 Q But the superintendent brought up her decision making     4 thought was right and it went from there.
 5 as a member of the Crawford County Library Board in the     5 Q Was she kind of believed to be out of the soup at
 6 context of her employment?                                  6 that point?
 7 A He talked to her about something about the library.       7 A Yes.
 8 I have no idea what.                                        8 Q Okay. Do you remember the first time you heard or
 9 Q But she wasn't happy about it --                          9 read that Deidre Grzymala would be departing as the
10 A But she mentioned it. She mentioned it in this           10 Director of the Library?
11 email, and she had gotten some threats.                    11 A I was at the board meeting on January the 22nd, I
12 Q Did she say what the threats were?                       12 believe, and she thought that she was going to be let go.
13 A No.                                                      13 Q Did she say why and what gave her that impression?
14 Q Okay. Do you remember any description of the people      14 A She had met with the library attorney.
15 that she gave that were engaged in the harassment and      15 Q And who was that; do you know?
16 threats?                                                   16 A I'm terrible with names.
17 A I don't remember that part.                              17 Q Was it Gentry Wahlmeier?
18 Q Okay. Did you have an idea, when she sent you that       18 A Yes.
19 email, about who that might be?                            19 Q Okay. And what did Deidre say that Gentry said?
20 A No.                                                      20 A He was offering her money to quit.
21 Q Okay. So how long, before the December 2022 Quorum       21 Q Okay. At any point, in your entire career, has
22 Court meeting, was that email?                             22 anyone voluntarily taken another job, resigned from
23 A The day of.                                              23 employment at an employer where you were, and then also
24 Q Oh, okay. Did you talk to Deidre Grzymala in advance     24 got severance for levering voluntarily?
25 of the Quorum Court meeting about a possible compromise?   25 A No.


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 1 Q So that didn't happen at the Crawford County Library,       1 Q Okay. And what's the next thing you heard after
 2 if it didn't happen anywhere, right?                          2 that?
 3            MR. MCLELLAND: Object to form.                     3 A I think it was at the next quorum court where they
 4 BY MR. ADAMS:                                                 4 announced her departure.
 5 Q No one has ever got severance at the Crawford County        5 Q Okay. Let me back up. Did you attend any library
 6 Library for voluntarily leaving the job?                      6 board meetings in 2022?
 7 A No.                                                         7 A Let's see. One, I think.
 8 Q Are you aware of a separation agreement that                8 Q Okay. Did you attend any Crawford County Quorum
 9 Ms. Grzymala signed with Crawford County?                     9 Court meetings in 2022?
10 A I know there was one. I don't know what was in it.         10 A No.
11 Q And do you know if that agreement was with the             11 Q So so far we've got you at a couple of library board
12 Library Board, given that you were the Director again        12 meetings and a quorum court meeting in early 2023?
13 starting in February?                                        13 A Uh-huh.
14 A It was not.                                                14 Q It sounds like you're getting plugged back in?
15 Q Who was her separation agreement with?                     15 A I was concerned.
16 A The county judge and quorum court.                         16 Q Okay. Can you tell me about those concerns?
17 Q I guess I'm trying to make sure I understand because       17 A Yes, I was very upset because I could see that what I
18 you told me, I think, that your understanding is the         18 had built up in the 20 years that I was there was going
19 library board hires and fires the director and the county    19 down the drain.
20 judge cannot hire and fire the director?                     20 Q That sounds hard. Can you tell me about -- I mean,
21 A That's correct.                                            21 obviously the library itself was kind of your baby after
22 Q Okay. So there were three new directors of the             22 20 years?
23 Crawford County Library Board in January of 2023, correct?   23 A Yes.
24 A Yes.                                                       24 Q So what had you built up specifically and what was
25 Q Okay. And one of them was Tammi Hamby?                     25 going down the drain?


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 1 A Yes.                                                        1 A When I came in 1999, it was a very needy library
 2 Q And were you familiar with her views from any way,          2 system. During that twenty years we built three new
 3 besides the media reports that you described about the --     3 buildings -- four new buildings and remodeled the rest,
 4 A No.                                                         4 did an expansion on one, went from a $300,000.00 budget to
 5 Q Okay. So you never heard any more about her views.          5 over a million. It became a thriving library system and I
 6 What about the other two members of the board; did you        6 think it's one of the best in the state, and there was no
 7 know anything about them?                                     7 concern for what they were doing to the library system.
 8 A I had met the young lady that was appointed, Amanda.        8 They were only pushing their own agendas and there was two
 9 She is a member of the First Baptist Church where I go.       9 sides.
10 Q Okay.                                                      10 Q Okay. Let's unpack that a little. When you say they
11 A Not at the time of this. She was when she was young,       11 were pushing their agendas on the library system, and
12 I'll put it that way.                                        12 there are two sides, can you describe the groups, I guess?
13 Q Okay. And were you familiar with any of her views?         13 If you don't want to name names, I won't make you name
14 A No.                                                        14 names, but tell me what your concerns were.
15 Q Did you know her to --                                     15 A Well, you know what the concern of the Hambys was.
16 A No.                                                        16 Q Okay. We see that in their letter.
17 Q And the third member you didn't know at all?               17     Okay. What's the other side?
18 A No.                                                        18 A They stirred up a stink.
19 Q Okay. So after the January board meeting, when             19 Q Okay. Who is they?
20 Deidre told you that Mr. Wahlmeier offered her money to      20 A The Hambys, and their cohorts, the Elders of -- the
21 resign, what was the next you heard about the departure or   21 River Valley Elders.
22 possible opening there?                                      22 Q Okay.
23 A I think Deidre told me that he had upped the amount.       23 A There was pushback from the LGBTQ community and
24 Q Okay. Did she tell you how much?                           24 others that were concerned.
25 A No.                                                        25 Q Okay.


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 1 A The library was caught in the middle.                     1 Q Did she become the board chair on January 10th of
 2 Q And what were you concerned would happen to the           2 2023?
 3 library?                                                    3 A It was before that. That was her first meeting, I
 4 A Well, there was threats that they would -- it would       4 think.
 5 be closed.                                                  5 Q Okay. But at some point -- I mean, I understand she
 6 Q Who was threatening that?                                 6 was appointed by Judge Keith.
 7 A Mrs. Hamby.                                               7 A Correct.
 8 Q Okay. Did she threaten that in public or to you           8 Q And he took office on January 1st, 2023?
 9 privately or both?                                          9 A Yes.
10 A A board meeting January the 10th.                        10 Q So it was at some point in January?
11 Q Okay. Presumably that was an or else statement,          11 A Correct.
12 right, it wouldn't be closed unless? So what was the       12 Q Okay. What I'm circling around, is Tammi hadn't been
13 unless?                                                    13 in any of the libraries or in some of the libraries
14 A Things changed in the library system to fit her          14 between -- at any point before late -- later in February
15 agenda.                                                    15 of 2023?
16 Q Okay. Has she since tried to close the library?          16 A She told me she had a card when her kids were small.
17 A I don't know.                                            17 Q Okay.
18 Q Okay.                                                    18 A She did not have one when she was appointed the board
19 A I can only speculate.                                    19 chairman.
20 Q Okay. But you're not -- it's still open as of today?     20 Q Do you know how old her kids are now?
21 She has not successfully closed the library?               21 A They're grown.
22 A She has not.                                             22 Q Okay. So it had been many years since she, herself,
23 Q Okay. Now, from February of last year to February of     23 had been a patron?
24 this year, you were the acting director, right?            24 A I have no idea. I don't know how long.
25 A Uh-huh.                                                  25 Q Okay. But Ms. Grzymala, the Director from


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 1 Q And for what part of that time? I'm going to premise      1 January 1st to February 27th of 2023, hadn't shown Board
 2 this question on something I read in documents. For some    2 Chair Hamby around prior to you returning?
 3 part of that time I understand Tammi Hamby was the chair    3 A No.
 4 of the library board?                                       4 Q Did either Grzymala or Hamby describe any
 5 A Until this January.                                       5 interactions between the two of them at the time?
 6 Q Okay. So for ten or eleven of the twelve months that      6 A They spoke, I know that.
 7 you were the interim Director most recently?                7 Q Okay.
 8 A The whole time.                                           8 A But I don't know what was said.
 9 Q Okay. So the whole time she was in --                     9 Q Okay. So starting in late February of 2023, you were
10 A Until January.                                           10 taking Ms. Hamby around. Was this kind of one trip or
11 Q She was the board chair?                                 11 multiple trips?
12 A Yes.                                                     12 A One trip.
13 Q Did you talk to her, other than as part of the           13 Q And did the Social Sections exist at that time?
14 monthly board meetings?                                    14 A Yes.
15 A Yes.                                                     15 Q Okay. And you talked about her agenda. Did she
16 Q How often would you say you spoke with her?              16 express any feeling about the Social Section?
17 A I took her around to the libraries, introduced her to    17 A We didn't talk about it.
18 everybody, showed her the libraries because she's never    18 Q You didn't talk about the Social Section at all?
19 been in one.                                               19 A No.
20 Q So when was that?                                        20 Q Okay. Did you talk about her agenda as expressed in
21 A Right after she took -- right after I took my job and    21 this letter of November 10th of 2022 at all?
22 we were together that -- most of the day that day and we   22 A No.
23 spoke.                                                     23 Q Okay. What about later in your interactions during
24 Q Okay.                                                    24 2023 with her, did you talk about LGBTQ material?
25 A Other than that --                                       25 A In a roundabout way.


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 1 Q Can you tell me about that?                                 1 A Social Section.
 2 A It was mostly -- I did not have any interaction with        2 Q Okay. Two lines down, "S E EWERT," what does the E
 3 her except at board meetings. We talked about what was on     3 stand for there?
 4 the agenda.                                                   4 A Easy.
 5 Q Okay.                                                       5 Q Easy?
 6 A And that -- and I did point out that she had an             6 A It's an easy read.
 7 agenda in some of those meetings.                             7 Q Okay. So the one right below that, "S 306.766
 8 Q Okay.                                                       8 MAR,"so I learned from my mistake earlier that that's in
 9 A And it was not what libraries were about.                   9 the Social Sciences, and prior to being placed in the
10 Q How did she respond to that?                               10 Social Section, which I understand the S indicates, that
11 A Usually with silence.                                      11 book would have been shelved in the regular adult
12 Q Okay. Can you spell out, so it's clear in the              12 nonfiction?
13 record, what the difference is between her agenda and what   13 A That's what it looks like, yes.
14 libraries are about, in your view?                           14 Q All right.
15            MR. MCLELLAND: Objection, to the extent           15 A It might be a typo. I don't know.
16        that it calls for an opinion. You can go ahead.       16 Q You're not sure?
17 A Repeat the question.                                       17 A No.
18 Q I'm not going to be able to quote your words               18 Q Okay. Well, look three lines down from that.
19 directly, but you said you expressed that Ms. Hamby's        19 There's another one, which is Abuse: an encyclopedia of
20 agenda was not what the libraries are about.                 20 causes, consequences, and treatments, also in the Social
21     Can you tell us, as plainly as you can for the record    21 Sciences Section in the Mountainburg Public Library.
22 in just a few sentences, what the differences between her    22    Does that look like it was probably --
23 agenda and what libraries are about?                         23 A Adult Section.
24            MR. MCLELLAND: Same objection.                    24 Q -- in the regular Adult Section before?
25 A Her -- she wants to limit what is offered in               25 A Yes.


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 1 libraries. We try to have something for everyone.             1 Q So it when it says S-J, what does the J stand for?
 2 Q Okay. Why don't we talk a little more about these           2 A Juvenile.
 3 social sections? When's the first time you saw one?           3 Q Okay. It looks like five lines up from the bottom
 4 A When I became the Director of the Crawford County           4 there was another one that may have been in the regular
 5 Library System on February 27th.                              5 nonfiction section, a book by Jane Fonda called Being a
 6   (Exhibit No. 6 was marked & attached hereto.)               6 Teen.
 7 Q Okay. I'm going to give you Exhibit No. 6.                  7    Does that look correct?
 8 A Could we take another small break?                          8 A Yes.
 9 Q That would be great.                                        9 Q What is the 600 series of the Dewey Decimal System?
10          (Brief recess was taken.)                           10 A That's usually sports, I think.
11 BY MR. ADAMS:                                                11 Q All right. I'm not going to go through all of these,
12 Q I can represent, and I think that Mr. McLelland can        12 but it looks like there's at least some of these books
13 confirm that this is the list of the books in the Crawford   13 that were not, prior to being placed in the Social
14 County Social Section that we got in discovery in this       14 Section, in a children's or juvenile or YA section. They
15 case.                                                        15 were on the regular adult shelves. Is that --
16 A Yes.                                                       16 A That's the way I see it.
17 Q Okay. So I want to first, as quickly as we can, I          17 Q Okay. And let me ask about a few of these books in
18 guess, just run through and talk about what the              18 particular that I, at least, became familiar with over the
19 abbreviations mean. So on the first line there's a book      19 course of the last few years.
20 and it says -- the Call Number is S YA MCNEIL, so McNeil     20    Are you familiar with And Tango Makes Three?
21 is the name of the author?                                   21 A No.
22 A Yes.                                                       22 Q Okay. Are you familiar with Ace of Hearts?
23 Q And YA stands for young adult?                             23 A No.
24 A Yes.                                                       24 Q Are you familiar with Bye Bye Binary?
25 Q And what does S stand for?                                 25 A I've heard of it.


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 1 Q Okay. But you don't think you've looked through it          1 A Don't know.
 2 or anything?                                                  2 Q Okay. During your time as the interim Library
 3 A I don't think so.                                           3 Director, were any of the books added to the Social
 4 Q I guess if you don't mind, tell me if there's any           4 Section?
 5 books that you remember having looked through or read?        5 A No.
 6 You don't have to look at every line, but if you will,        6 Q Were any books taken out of the Social Section?
 7 just skim it.                                                 7 A No.
 8 A My Two Dads.                                                8 Q Why is that?
 9 Q Okay. Do you know that one?                                 9 A Our lawyer advised us not to.
10 A I think I have skimmed it, yes.                            10 Q Did you any have concerns about new acquisitions
11 Q Okay.                                                      11 during that period? So if there was book that the normal
12 A The original to the Anne of Green Gables, but I            12 selection criteria might have suggested would have been a
13 haven't read that -- I don't have any idea about that one.   13 good acquisition, but that you thought might end up in the
14 Q Let's see, Anne: An adaptation of Anne of Green            14 Social Section, based on the criteria used before, did you
15 Gables (Sort Of).                                            15 have any concerns about acquiring books during the year
16    Do you know who selected the books that would go in       16 that you were the interim --
17 the Social Section?                                          17 A Of course.
18 A The branch managers.                                       18 Q So how did you deal with those concerns?
19 Q Okay. And do you know what criteria they used to           19 A Pretty much didn't order any.
20 select the books that would go in the Social Section?        20 Q Okay. Would you have had concerns about ordering
21 A They told me that they were given a list of words to       21 books that were opposed to homosexuality or transgender
22 search by subject. I don't know what that list of words      22 identity?
23 was.                                                         23 A Probably.
24 Q Okay. Did they tell you who gave them the list of          24 Q Okay. So you just avoided these topics completely?
25 words?                                                       25 A Pretty much.


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 1 A Deidre.                                                     1 Q Okay. Are you aware of any books that are not in the
 2 Q Did you ever talk to Deidre about that list of words?       2 Social Section, but that involve LGBTQ issues?
 3 A No.                                                         3 A Yes.
 4 Q Okay. What's your understanding, generally, about           4 Q Can you --
 5 what these books on the list have in common?                  5 A We did not put adults -- we did not take anything out
 6 A They either have sex or LGBTQ.                              6 of the adult section, that I know of.
 7 Q There's only one that stands out in the list to me as       7 Q Well, it seems like before, at least, there were some
 8 maybe not fitting that test and it's on the last page,        8 that seemed like they might have been taken out?
 9 nine up from the bottom, and it's Who Believes What?          9 A See, I don't know what the criteria was, but I know
10 Exploring the World's Major Religions. Do you know why       10 that there are still some in the adult section that deal
11 that's on the list?                                          11 with that topic.
12 A I have no idea.                                            12 Q And how do you know that?
13 Q If you searched for books that had sexual content in       13 A Because it's been brought up.
14 the regular adult section, would you expect to have more     14 Q Okay. Who brought it up?
15 or fewer than this list?                                     15 A Several people.
16 A More.                                                      16 Q And were they opposed to the continued presence of
17 Q Okay. So did you get any sense, from talking to the        17 those books in the regular adult section?
18 branch managers, about how the books that we identified      18 A They assumed that they were in the lower sections,
19 earlier, that were moved from the regular the adult          19 instead of in the adult sections.
20 shelves to the special Social Section shelves were chosen?   20 Q They assumed -- so they expressed concern about --
21 A No.                                                        21 A Yes.
22 Q Is it your understanding that any book that mentions       22 Q Do you remember which books in particular?
23 LGBTQ themes would be placed in the Social Section? For      23 A Gender Queer.
24 example, if a book condemned homosexuality, would it have    24 Q That's a famous one. And do you remember who raised
25 been placed in the Social Section?                           25 that issue with you?


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 1 A No.                                                        1 as the interim Director, about the inclusion of any
 2 Q Okay. But somebody said they thought it was in which       2 materials in that section?
 3 section?                                                     3 A Yes.
 4 A In the children's section.                                 4 Q Did you take any action in response to those
 5 Q Okay.                                                      5 complaints?
 6 A At one point.                                              6 A No.
 7 Q And do you know which branch or branches that book is      7 Q Okay.
 8 in?                                                          8 A I guess I need to clarify that.
 9 A Van Buren.                                                 9 Q Okay.
10 Q And it's in what section?                                 10 A There were some requests for reconsideration and the
11 A It's in the adult section.                                11 board dealt with those.
12 Q I understand that book to be a graphic memoir?            12 Q And do you remember when that was?
13 A Yes.                                                      13 A That was probably March or May. May, I think.
14 Q So which section is it in now?                            14 Q Of 2023?
15 A It's in the biographies.                                  15 A Uh-huh.
16 Q But just with the regular adult biographies and           16 Q Okay. And did those -- did the board take any action
17 autobiographies?                                            17 to move the books?
18 A Yes.                                                      18 A Yes.
19 Q Okay. Did the library board express any concern           19 Q So they moved them back to the regular collection?
20 about that?                                                 20 A Yes.
21 A No.                                                       21 Q Do you remember which books those were?
22 Q Okay.                                                     22 A No, I don't.
23 A They probably don't know it.                              23 Q Okay. Back when we were talking about library
24 Q Okay. Did the library ever adopt a formal policy for      24 principles and how you lay out books in the library and we
25 the administration of the Social Section?                   25 talked about grouping books by subject matter, so that


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 1 A No.                                                        1 people browsing could find things they were interested in,
 2 Q Okay. Are you aware of any general instructions, or        2 is the Social Section consistent with that principle of
 3 did you give any general instructions to the staff about     3 grouping books by subject matter for browsing purposes?
 4 how to administer the Social Section?                        4            MR. MCLELLAND: Objection. It calls for an
 5 A No.                                                        5         opinion. You can respond.
 6 Q Had they been given such instructions before you took      6 A Repeat the question again.
 7 office?                                                      7 Q Do you remember when we talked about the Library Bill
 8 A I don't know.                                              8 of Rights and the Code of Ethics, and then we also talked
 9 Q Okay. Do you think the materials in the Social             9 about one application of the Code of Ethics on helping
10 Section have been selected based on the opinions in those   10 people find material that is of interest to them and one
11 books?                                                      11 of the ways in which librarians do that, is by grouping
12 A Yes.                                                      12 books and other library materials by subject matter.
13 Q Can you tell from a distance that a book is part of       13     Is the Social Section consistent with those
14 the Social Section?                                         14 principles of helping library patrons find materials by
15 A Yes.                                                      15 grouping them by subject matter?
16 Q How?                                                      16 A No.
17 A It has green tape over the call number.                   17            MR. MCLELLAND: Same objection.
18 Q Okay. Did you work in the Van Buren Branch when you       18 Q Did you ever express an opinion to the Library Board
19 were the acting Director?                                   19 or the County Judge or anyone on the Quorum Court about
20 A My office is in the Van Buren Branch.                     20 the Social Section?
21 Q And do you still have an office now that you're --        21 A Of course.
22 A Yes, I have part of an office, yes.                       22 Q Okay. What did you say?
23 Q And is it still there?                                    23 A That it created a problem.
24 A Yes.                                                      24 Q Okay. And what's the nature of the problem?
25 Q Okay. Did you get any complaints, during your time        25 A The nature is that it goes against library


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 1 principles.                                                     1 A I wasn't looking for it, so, no, I don't remember.
 2 Q Okay. Do you think Deidre Grzymala would have                 2 Q Okay. Yeah, it's not -- it's cross-referenced in
 3 created the Social Section without having gone to that          3 this statute and it refers to a previous statute.
 4 December 2022 meeting and heard from the Quorum Court?          4     So if you look on Page 2 of the Act: "Harmful to
 5 A That's subjective. I can't -- can't answer that.              5 minors means the same as defined in Arkansas Code Section
 6 Q What do you think the Quorum Court's view of the              6 5-68-501."
 7 Social Section is?                                              7     So I'm going to read that section to you now.
 8           MR. MCLELLAND: Object to form.                        8 "Harmful to minors means that quality of any description,
 9           MR. WATSON: Objection to form.                        9 exhibition, presentation, or representation in whatever
10 A I'm not answering it. I can't -- I can't judge the           10 form of nudity, sexual conduct, sexual excitement or
11 Quorum Court, their thoughts.                                  11 sadomasochistic abuse when the material or performance
12 Q Okay. But you read news reports about the                    12 taken as a whole has the following characteristics:
13 December 12th, 2022 meeting?                                   13     (A) The average person 18 years of age or older
14 A Yes.                                                         14 applying contemporary community standards would find that
15 Q And what did those reports say; do you remember?             15 the material or performance has a predominant tendency to
16 A Not really, no.                                              16 appeal to a prurient interest in sex to minors; (B) The
17 Q Okay. Did Judge Keith appointing Tammi Hamby to the          17 average person 18 years of age or older applying
18 Library Board to replace one of the three members that         18 contemporary community standards would find the material
19 resigned immediately after the December 2022 meeting send      19 or performance depicts or describes nudity, sexual
20 a message to you?                                              20 content, sexual excitement, or sadomasochistic abuse in a
21           MR. MCLELLAND: Object to form.                       21 matter that is patently offensive to prevailing standards
22 A Yes.                                                         22 in the adult community with respect to what is suitable
23 Q What was the message?                                        23 for minors; and (C) the material or performance lacks
24 A That he did not care about the library or was                24 serious literary, scientific, medical, artistic, or
25 ignorant of what he had done.                                  25 political value for minors."


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 1 Q Let me ask this simply. Did you interpret the                 1    Okay. Did that definition make sense to you?
 2 message as saying anything in particular about the Social       2 A It's still not clear.
 3 Section?                                                        3 Q Okay. What's not clear about it?
 4 A Not to me, no.                                                4 A It depends on somebody's opinion.
 5 Q Okay. I've been meaning to come back to talk about            5 Q Okay. So you're not sure what would fall under that
 6 the Social Section a little bit, but I think at this point      6 and what wouldn't?
 7 we can go on to talk a little bit about Act 372, if             7 A No.
 8 everybody is okay to keep going for a little while.             8 Q Okay. But as a broad category, it has to do with
 9 A It's fine.                                                    9 what in order to be harmful to minors?
10 Q All right. So let's turn back to Exhibit 1 and Act           10 A Whatever the older generation thinks about that
11 372. We talked, in the beginning, about how the                11 subject.
12 Plaintiffs, who Ms. Brownstein and I represent, are            12 Q Okay. But I mean, could it be harmful to minors in
13 challenging, under the First Amendment, two of the             13 terms of teaching them to be dishonest?
14 sections of this law.                                          14           MR. MCLELLAND: Object to form.
15    Do you remember that?                                       15 A Don't know.
16 A Yes, I do.                                                   16 Q Okay. So you can see at the bottom this draft is
17 Q So let's start with Section 1, the criminal part of          17 dated March 15th, 2023, and the last page, it was approved
18 the statute. Do you know what it means for an item to be       18 by the sponsor of Senator Sullivan on March 30th, 2023.
19 harmful to minors?                                             19    You were the interim Director of the Crawford County
20 A Very broad.                                                  20 Library on March 30th, 2023, right?
21 Q Okay. Well, tell me broadly what it means.                   21 A Correct.
22 A It needs to be defined as how it harms them.                 22 Q So is that about the time you heard about this law
23 Q Okay. Had you seen this definition before you read           23 and read it?
24 this statute, of, quote, harmful to minors"? Do you            24 A Don't know. I heard a whole lot about it before.
25 remember having read it before?                                25 Q How did you hear about it?


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 1 A In the media.                                               1 Q That might have gotten your attention?
 2 Q Okay.                                                       2 A Yes.
 3 A Talking to other librarians. We were very concerned.        3 Q Okay. After that it says: "In order to be convicted
 4 Q What were you concerned about?                              4 of furnishing a harmful item to a minor, however, there is
 5 A Mostly because I was going to become a criminal if I        5 a process, just like that of any criminal charge; you
 6 gave somebody a book that I didn't know what was in it.       6 can't be hauled off to jail on a citizen's arrest."
 7 Q Okay. Well, after it was passed, did you try to             7     Did that make you feel better?
 8 figure out which books would be considered harmful to         8 A No.
 9 minors in the library collection?                             9 Q Have you ever heard of a criminal referral? Have you
10 A No.                                                        10 ever gotten a visit from the police about any of the books
11 Q It was just not possible for you to make that              11 in your library?
12 determination?                                               12 A No.
13 A No.                                                        13 Q Okay. Now, this guide doesn't actually include the
14 Q Do you remember which other librarians you talked to       14 definition of what's harmful to minors from what I see.
15 or got emails or had any other communications with about     15 Do you see that in here?
16 this?                                                        16 A Right.
17 A There were several, no.                                    17 Q Do you remember looking it up, since as we saw
18 Q Okay. How about the state librarian; did you get any       18 before, it's cross-referenced in the law, it's not
19 communications from the state library about how to           19 actually set forth in the law, what the definition of
20 interpret this law?                                          20 harmful to minors is.
21 A Yes.                                                       21 A I don't remember looking it up, no.
22 Q Do you remember when that was?                             22 Q Okay. So this definition of harmful to minors, it's
23 A Right about this time, or a little later.                  23 got those three factors that we talked about, but there's
24 Q Okay. And what's the name of the State Librarian?          24 also this general description, which means the quality of
25 A Jennifer Chilcoat.                                         25 any description, exhibition, presentation or


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 1 Q Okay. Did you get an email from Jennifer Chilcoat?          1 representation in whatever form of nudity, sexual conduct,
 2 A I did.                                                      2 sexual excitement and it goes on.
 3 Q All right. Let's do this as Exhibit 7.                      3     So the definition of harmful to minors is not -- it
 4   (Exhibit No. 7 was marked & attached hereto.)               4 doesn't cover every type of content, right, it specifies
 5    If you will flip through that and tell me if this is       5 certain kind of content?
 6 the email that you just mentioned?                            6 A Right.
 7 A Yes.                                                        7 Q Have you ever read a book that you think is too
 8 Q Okay. So you got this email when it went out?               8 sexually explicit for a ten-year-old, but might be
 9 A Yes.                                                        9 appropriate for a seventeen-year-old to read?
10 Q So this starts out: "Dear Public Library Directors,        10 A Yes.
11 As you all know Senate Bill 81, now Act 372 and linked       11 Q Do you think the community standards in Crawford
12 below, has been signed by Governor Sanders. Unless           12 County would back you up on that assessment of the book?
13 something happens between now and August 1st, that Act       13 A Don't know.
14 will be State Law," and it goes on to talk about the         14 Q But if you had to guess, if you were forced as a
15 different sections of the Act below.                         15 librarian to figure out whether a book might be considered
16    Do you remember reading this on the third page of         16 harmful to minors on this ground, because it included a
17 Exhibit 7, where Ms. Chilcoat summarizes Section 1, the      17 description of sexual conduct, do you think it's possible
18 harmful to minor section of Act 372?                         18 that the consensus in Crawford County, is that there's at
19 A What does it start with?                                   19 least some book that you've read that would be too
20 Q Section 1, Harmful to Minors.                              20 sexually explicit for a ten-year-old, but most adults
21 A Okay. Yes, I remember.                                     21 would think a seventeen-year-old could handle it?
22 Q Okay. Do you remember when it says conviction of a         22           MR. MCLELLAND: Object to form.
23 class A misdemeanor carries a maximum sentence of up to 12   23 A Possibly.
24 months in jail and a maximum fine of $2,500?                 24 Q Is it possible that any of those books are in the
25 A Yes.                                                       25 Crawford County Library System?


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 1 A Possibly.                                                      1 A We have a policy.
 2 Q Did you take any steps, after this law was passed,             2 Q All right. Let's look at it. That's a good point.
 3 but before it was scheduled to go into effect on                 3     So we're looking at Crawford 72 on Exhibit 4. Let's
 4 August 1st, to try to minimize the criminal exposure of          4 look at Roman Numeral V. What does that say?
 5 you or the other Crawford County librarians under this           5 A "The materials under consideration will remain in the
 6 statute?                                                         6 library's collection pending the outcome of the Patron's
 7 A No.                                                            7 request."
 8 Q Okay. Are you aware of the lawsuit to try to get the           8 Q All right. Now, let's turn to Page 69, the first
 9 law blocked?                                                     9 page of Exhibit 4, which we talked about before that we
10 A Yes.                                                          10 understand to be the draft policy.
11 Q All right. Let's turn to Section 5, which is going            11 A Okay.
12 to get a little more in the weeds here. So I'm going to         12 Q Does it say on this page whether the book will remain
13 be looking at two things at the same time.                      13 in circulation.?
14     First, let's turn back to Exhibit 1, which is the           14           MS. BROWNSTEIN: Is this the one with the
15 text of the law itself, which starts on Page 7 of               15        missing page?
16 Exhibit 1.                                                      16 BY MR. ADAMS:
17    It starts out in Subsection A: "Each county or               17 Q Well, anyway, do you remember how the Crawford County
18 municipal library shall have a written policy to establish      18 Library was going to handle that if Section 5 went into
19 guidelines for the selection, relocation and retention of       19 effect?
20 physical materials that are available to the public."           20 A No, I don't. This one that was approved on
21     Okay. So prior to Act 372, did the Crawford County          21 9/13/2022, we don't know if that part was changed or not,
22 Library have written policies to establish guidelines for       22 do we?
23 the selection, relocation and retention of physical             23 Q No, we we're going to find out. I think we got the
24 materials?                                                      24 total draft policy.
25 A Yes.                                                          25 A It was changed from the form that was before it.

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 1 Q Subsection C says: "A written policy adopted by a              1 Q Well, the one on page -- I guess I understood you to
 2 county or municipal library under Subsection B shall             2 say that the one on Page 69 was never adopted because the
 3 provide, at a minimum, the following: (1) A person               3 law didn't go into effect; is that correct?
 4 affected by the material to be challenged or an employee         4 A That's not the one I'm talking about.
 5 of the county or municipal library may challenge the             5 Q But you're saying the one before the one that was
 6 appropriateness of the material in the county or municipal       6 adopted in 2022?
 7 library."                                                        7 A Yes.
 8     What I'd like to focus on there is a person affected         8 Q Yes. So I don't think we know because that would
 9 by the material. Did your policy before, to the best of          9 have been the one that you would have been responsible for
10 your recollection, limit who could challenge materials to       10 overseeing?
11 cardholders or members of the community or any other            11 A Right.
12 smaller group than any human on the planet?                     12 Q Okay. So Section 5 would add to the Arkansas code we
13 A I think that the contract policy we had anybody               13 were talking about, Subsection C of 13-2-106, where it
14 could, but I'm not sure.                                        14 says a written policy adopted by a county or municipal
15 Q Okay. Do you know what that means when it says a              15 library shall provide, at a minimum, the following and
16 person affected by the material? What would it take for a       16 then we just talked about Subsection 2.
17 person to be affected by a book in your collection?             17     Subsection 3 says: "Before a person can file a
18 A They'd have to read it first.                                 18 challenge, the person shall request a meeting with the
19 Q Okay. Fair enough.                                            19 librarian of the county or municipal library."
20     "(2)The county or municipal library shall decide if         20     Did anyone do that while you were the interim
21 material being challenged shall remain available                21 librarian?
22 throughout the challenge process."                              22 A No.
23     Did your policy before, as far as you remember,             23 Q Subsection 5 says: "After a meeting requested under
24 leaving a book on the shelves while it was being                24 C3 of this section occurs, if the person who requested the
25 challenged or taking it off the shelves, or did it say?         25 meeting wants to formally challenge the appropriateness of


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 1 the material that was the subject of the meeting, the           1 library that currently has an area that they monitor for
 2 person shall complete and submit the request for                2 who goes into it, so that is going to be problematic for
 3 reconsideration using the form or other method provided         3 everyone. One minimalist possibility might be purchase
 4 under Subdivision (c)(4)(B) of the section to challenge         4 carts to hold the relocated materials, so that persons 18
 5 the material that was the subject of the meeting."              5 and over can request access."
 6     It goes on to say: "In conducting the review of the         6     Did you or anyone, on behalf of the Crawford County
 7 material being challenged, the librarian of the county or       7 Library, take any of these steps to prepare to have an
 8 municipal library shall select a committee of library           8 area that was in accessible to minors under the age of 18?
 9 personnel."                                                     9 A No.
10     Did you think about that, who might be on your             10 Q Okay. And was that -- was that, again, because you
11 committee if this had gone into effect?                        11 knew this lawsuit was going on and you hoped that the law
12 A No.                                                          12 would not go into effect?
13 Q Okay. And why not?                                           13 A I didn't know how to do it.
14 A Because I was hoping it wouldn't be.                         14 Q Okay. Well, tell me about that. What do you mean
15 Q Okay.                                                        15 you didn't know how to do it?
16 A Put it into effect, so I'd have to do it and I wasn't        16 A Our libraries are open floor plans. I don't know how
17 going to stay that long.                                       17 to make that happen without structural changes.
18 Q Okay. The thing that jumps out to me, anyway, about          18 Q Okay.
19 what would have happened if this law had gone into effect,     19 A We don't have the money for that.
20 is down near the bottom of Page 8, it talks about the          20 Q That was my next question. Would those structural
21 decision the library committee has to make.                    21 changes be cost prohibitive?
22     "The committee established under subdivision               22 A Probably.
23 (c)(6)(A) of this section shall vote to determine whether      23 Q Would those structural changes be consistent with the
24 the material being challenged shall be relocated within        24 goal of providing an open browsing experience?
25 the library's collection to an area that is not accessible     25 A No.


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 1 to minors under the age of 18 years."                           1 Q Did you discuss this not accessible section language,
 2     Did I read that correctly?                                  2 with other folks inside the library and talk about what
 3 A Yes.                                                          3 you might do if this did go into effect?
 4 Q Do you remember reading that after the law was                4 A Not really, no.
 5 passed?                                                         5 Q Did you discuss it with the board?
 6 A Yes.                                                          6 A No.
 7 Q Do any of the Crawford County Library branches, or            7 Q Did they ask you about it?
 8 did they, at that time, pardon me, have an area that is         8 A No. I'll have to back up on that. Yeah, they did
 9 not accessible to minors under the age of 18 years?             9 discuss it some.
10 A No.                                                          10 Q Are you talking about the board?
11 Q Can a minor freely browse the shelves in Crawford            11 A The board.
12 County libraries?                                              12 Q What did they say?
13 A Yes.                                                         13 A Didn't come up with an answer.
14 Q Coming back to Jennifer Chilcoat's email of                  14 Q Okay. I guess I should circle back just with one
15 April 20th, 2023, if you don't mind, Exhibit 7. So turn        15 question, and say did you talk about the possibility of
16 to Page 5, toward the end of her discussion on Section 5       16 criminal prosecution with anybody? Again, referring to
17 on guidelines for selection and relocation and retention       17 Section 1 of this Act?
18 of materials, there's a second paragraph that starts out:      18 A I talked to my staff about it, yes.
19 "You will need to meet with your board and likely your         19 Q Can you tell me about that discussion?
20 library's attorney to discuss what you will do in the          20 A They were very upset that they were going to be under
21 event the items go through the challenge process with the      21 this law that made them a criminal if they gave a book
22 outcome that they need to be, quote, "relocated within the     22 that they had not read to a person or a minor and then
23 library's collection to an area that is not accessible to      23 somebody challenged that book and then they would be under
24 minors under the age of 18 years."                             24 criminal charges for it, and so we discussed it a little,
25     Chilcoat goes on to write, "I don't know of any            25 but, you know, we couldn't see beyond that.


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 1 Q Okay. So you didn't know what was going to happen?            1 or are they expected to that on their free time? How does
 2 A No.                                                           2 that work, in your experience, with book challenges?
 3 Q And you hoped the law wouldn't go into effect?                3 A Usually it would be outside of work time because they
 4 A Right.                                                        4 have duties to do at work that they have to do.
 5 Q When you described the concern of the librarians, you         5 Q Okay.
 6 talked about a book being challenged in connection with         6 A I mean, we can't shut down the library to read a book
 7 criminal liability. So as we went through the text,             7 and there's -- some of my libraries just have two people.
 8 Section 1 is the criminal section and Section 5, I'll just      8 Q So would that limit the volume of these challenges
 9 represent to you, doesn't talk about harmful to minors.         9 that you could realistically be expected to process?
10    On the middle of Page 7, "(c)(1), a person affected         10 A It would definitely be a chore.
11 by the material to be challenged or an employee of the         11 Q Okay. Going back to Jennifer Chilcoat's email, I
12 county or municipal library may challenge the                  12 think it's the page before the one you're on right now.
13 appropriateness of material available in the county or         13 The one that starts out, "This one is going to give you
14 municipal library."                                            14 some heartburn."
15    So do you read that as connected with the criminal          15 A Okay.
16 prohibition? So if a book is found to be inappropriate,        16 Q I'm going to read No. 1. "If your current policy
17 that it might also subject you to criminal liability?          17 makes a promise about how quickly you'll be able to
18 A Of course.                                                   18 respond to book challenges, I strongly advise you to amend
19 Q Do you understand Section 5 to permit the relocation         19 that portion of your policy, as you are making amendments
20 of books from the adult section, just the regular adult        20 to comply with this law. There are locations where
21 section, either nonfiction or a novel just on the shelves,     21 certain citizens are marking their calendars for this law
22 to an area inaccessible to minors under the age of 18?         22 to take affect, so they can begin filing scores of
23 A It's possible.                                               23 challenges. If your policy currently promises you will
24 Q Okay. So it doesn't just apply to children's books           24 consider all the challenges within, say, 30 days, you will
25 or young adult books?                                          25 not be able to process 40 challenges in 30 days,


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 1 A Not if minors could get to them.                              1 especially considering that the Act rightly says that any
 2 Q Okay. Do you think the Social Sections are currently          2 material being challenged, quote, 'shall be viewed in its
 3 inaccessible to minors under the age of 18?                     3 entirety and shall not have selected portions taken out of
 4 A No.                                                           4 context,' unquote.
 5 Q So they would have to be further segregated in some           5     Do you remember reading that part?
 6 way?                                                            6 A Yes.
 7 A Right.                                                        7 Q What was your reaction to her statement that there
 8 Q One other thing that stands out about this procedure          8 are locations where certain citizens are marking their
 9 that Act 372 sets forth for county libraries like yours,        9 calendar for this law to take affect, so they can begin
10 is that the committee of librarians seemingly may have to      10 filing scores of challenges? Was that consistent with
11 read all of a novel or a nonfiction book.                      11 your --
12     So if you look in the middle of Page 8, subsection         12 A My county is one of them. We have 17 challenges
13 (7)(b), it says material being challenged, and then at         13 waiting to be done when this law goes into effect.
14 romanette ii, "Shall be reviewed in its entirety and shall     14 Q Okay. So how long would you have estimated that be
15 not have selected portions taken out of context."              15 to process, if you had to guess?
16     Would your expectation be, in the course of a normal       16 A Most of them are children's books, so it won't take
17 book challenge, like if someone challenged kind of a long      17 long, but there are some others that would take longer.
18 book -- I mean, say it's a classic book that might get         18 Q Yeah, that makes sense. It would depend on if it's a
19 challenged, like Lady Chatterley's Lover or something and      19 picture book and you can flip through it and decide pretty
20 it's spicey, but it's also a book that's going to take, I      20 quickly.
21 don't know how long, at least five or ten hours to read,       21 A But some of the juvenile are 600 pages long, like
22 right, if you're a normally fast reader, would your            22 Harry Potter.
23 library employees, if you had to put three of them on this     23 Q Yeah. I want to follow up on that. So this book has
24 committee, is that something they can do on the clock?         24 a final decision being made by the library committee --
25     Can they sit there and read Lady Chatterley's Lover,       25 not a final decision, but a decision being made by the


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 1 library committee and if the library committee -- let's        1 (c)(11)(B)."
 2 find this language.                                            2     So a whole bunch of stuff that the library committee
 3     This is on Page 9, subsection 12(A). "If the               3 prepared to the governing body of the county or city.
 4 committee established under subdivision (c)(6)(A) of this      4     So does that sound like it goes to the Quorum Court?
 5 section decides not to relocate the material being             5 A Uh-huh.
 6 challenged, the person who submitted the request under         6 Q And then romanette ii says the executive head may
 7 subdivision (c)5 of this section may appeal the                7 include his are her recommendation regarding the appeal.
 8 committee's decision to the governing body of the county       8     "(C)(1)the members of the governing body shall review
 9 or city by filing a written appeal to the executive head       9 the information submitted to them under this subdivision
10 of the governing body of the county or city within five       10 and shall make a decision on the appeal within 30 days."
11 working days of the committee's decision or written           11     So a library committee has to look at the entire
12 receipt of the committee's decision."                         12 material, and if somebody challenged a book and the
13     Do you remember reading this when the law came out?       13 library committee decided that it should be relocated to
14 A Uh-huh.                                                     14 an area inaccessible to minors under the age of 18, is
15 Q So what stood out to you about that?                        15 there any right for anyone in the community to appeal that
16 A Not a very long time.                                       16 decision to the Quorum Court?
17 Q They don't have long to make the appeal; they just          17 A No.
18 have five days.                                               18 Q Okay. When you read this law, what did you think it
19     Before, under Crawford County's policy, where would       19 was trying to achieve by having the appeals go to the
20 appeals from the librarian's decision about the placement     20 Quorum Court, in your case, instead of to the Library
21 or inclusion of a book in the collection, like where would    21 Board?
22 it have gone?                                                 22 A It's taking our job as a librarian and giving it to
23 A Well, we didn't make that decision. The board made          23 somebody who has no earthly idea what to do.
24 the decision.                                                 24 Q Well, how do you think the Quorum Court would make
25 Q Oh, I see. It just went straight to the board?              25 the decision, if they have no earthly idea?


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 1 A Well, I tried to deal with it, but if they filled out        1 A Somebody will tell them.
 2 the form, it went straight to the board.                       2 Q Okay. In the case of Crawford County, who is that
 3 Q There was no librarian committee?                            3 somebody?
 4 A No.                                                          4           MR. MCLELLAND: Objection to form.
 5 Q So under Section 5 of Act 372, does the library board        5 A I don't know who it would be.
 6 play any role in this process?                                 6 Q Okay. We're going to take a ten-minute break and
 7 A No.                                                          7 then try to get you out of here. Okay?
 8 Q So for your library, where would that appeal have            8 A Okay.
 9 gone after the committee?                                      9          (Brief recess was taken.)
10 A To the judge.                                               10 BY MR. ADAMS:
11 Q Okay. And what would the county judge do with it?           11 Q Okay. Thank you, Ms. White. I have a few more
12 A Rule.                                                       12 questions. One is in general about how you would expect a
13 Q Would he rule by himself or?                                13 library with areas inaccessible to minors under age 18 to
14 A I can't remember whether the Quorum Court was               14 work. You've talked about the physical barriers, the
15 involved or not.                                              15 possible expense of that, the issues with browsing.
16 Q Well, let's go down to (B)(ii). "In addition to the         16     One of the issues that some of the Plaintiffs in our
17 information required to be provided, the executive head of    17 case raised, is that they are -- they are adults that like
18 the county or city may also include -- oh, this is not        18 to browse with minors in tow. You sometimes get parents
19 going to make sense without reading (B)(i), I'm sorry.        19 coming in the library and they have their kids and they're
20    "If a person appeals the decision of a committee           20 walking around looking at different books and things like
21 under subdivision (c)(12), the executive head of the          21 that.
22 county or city shall present the material being               22     Do you think it might be a deterrent to them using
23 challenged, the request submitted by the person under         23 the library if some section of the books were carved off
24 subdivision (c)(5), the committee's decision under            24 and some area inaccessible to minors under the age of 18?
25 (c)(11)(A) and the summary prepared under subdivision         25 A It could be.


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 1          MR. MCLELLAND: Object to form.                       1 A We haven't spent a lot of time on it.
 2          MR. WATSON: Object to form.                          2 Q You haven't done more planning for it --
 3 BY MR. ADAMS:                                                 3 A No, we don't plan on planning.
 4 Q Were you involved in the process of hiring the              4 Q Okay. You'll cross that bridge when you get to it?
 5 permanent director that --                                    5 A Right.
 6 A Is taking my place?                                         6 Q Okay. We talked before about how your attendance at
 7 Q Yes.                                                        7 Quorum Court meetings seems to have gone up from 2022 to
 8 A Yeah.                                                       8 2023.
 9 Q Okay. And please remind me, what did you say her            9 A It's required.
10 name is?                                                     10 Q When you're the Director it's required?
11 A Charlene McDonnough.                                       11 A Yes.
12 Q Did you talk to her about the Social Section?              12 Q I see. Now, that you're an advisor, is it still
13 A We encouraged her to look at things as they have           13 required?
14 happened and be aware of what was going on before she took   14 A I'm going with her, yes.
15 the job.                                                     15 Q So part of your mentoring of the new director is --
16 Q So you said, "We encouraged her"?                          16 A I did not go to the last one.
17 A The Board and me.                                          17 Q Okay. But, in general, the expectation has been that
18 Q The Board and you encouraged her to look at what has       18 you'll be there?
19 happened. Did you give her any more guidance than that       19 A They expect me to be there.
20 about what she might expect?                                 20 Q Okay.
21 A Not before she was hired.                                  21 A And things go wrong if I'm not there.
22 Q Okay. What about after she was hired?                      22 Q I see. I can see how your experience is valuable.
23 A That is my job as advisor.                                 23 You talked before about you've gotten 17 challenges?
24 Q I see. To advise her?                                      24 A That's what's backed up.
25 A On what is going on and what may happen.                   25 Q That's the current backlog?


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 1 Q Can you tell me what advice about what has gone on          1 A Right.
 2 with respect to the Social Section and what might happen?     2 Q And they're being handled under the --
 3 A That's not really a concern as much as some of the          3 A Because we cannot move in or we cannot move out.
 4 other things that have gone on. During my interim thing,      4 Q Oh, I see. So it isn't just Social Section books?
 5 we've had all kinds of problems.                              5 A Yeah, it is.
 6 Q What are the other problems?                                6 Q Were the challenges specific to the Social Section?
 7 A The amount of time that it has taken for me to answer       7 Because as I understood it, prior to the existence of the
 8 the FOIs that I get, the staff problems that we have          8 Social Section you could just challenge the inclusion of a
 9 because staff morale is horrible.                             9 book in the library's collection?
10 Q Well, tell me about that. Staff morale is horrible         10 A You still can, but you can't in the Social Section.
11 as a result of -- I mean, what are the primary causes?       11 Q I see. So these 17 are specific requests to put
12 A We're under fire.                                          12 something in the Social Section?
13 Q Okay.                                                      13 A Or out.
14 A We have all kinds of problems because of this.             14 Q I see. And so your response to those challengers is
15 Q Okay.                                                      15 on the advice of counsel we're not moving them?
16 A The Social Section is just setting there.                  16 A Right.
17 Q But the problems are ongoing?                              17 Q Okay. I believe you said you were not at the
18 A Yes. And we're still in the middle of these two            18 December 2022 Quorum Court meeting?
19 factions.                                                    19 A I was not.
20 Q Is the possibility of Act 372 going into effect part       20 Q Have library materials been discussed at any Quorum
21 of those discussions with the new director,                  21 Court meetings that you've attended since then?
22 Ms. McDonnough?                                              22 A Not materials.
23 A We haven't discussed it a whole lot. I've had her to       23 Q Can you explain that? Is there something else --
24 read it and she's asked some questions.                      24 A We got a grant from the American Library Association
25 Q Okay.                                                      25 to replace doors at the Alma Branch, because they are


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 1 noncompliant for the ADA. One member of the Quorum Court      1 A Yes.
 2 got an email from somebody that said that if we got that      2 Q So were you the first executive director of the
 3 grant, we would be required to buy these certain types of     3 system?
 4 materials in order for us to spend the money.                 4 A Yes. We were a part of a regional system before
 5 Q Did they specify what kind of materials the American        5 then.
 6 Library Association would require you to buy?                 6 Q And so how did that change occur, like what process
 7 A No.                                                         7 happened separating from the regional system, if you
 8 Q And it was never specified in the Quorum Court or           8 recall?
 9 anywhere else what this was about?                            9 A Well, we were asked to leave the system because they
10 A No, they just refused to pass the money to do the          10 did -- Washington County did not think we were paying our
11 grant money. They refused to appropriate it at that          11 part of the regional system.
12 meeting until they found out what the grant said about       12 Q Okay. And so did Crawford County get like voted out
13 that.                                                        13 of the regional system?
14 Q And which justice of the peace was that that held up       14 A Something like that.
15 the grant?                                                   15 Q Okay. And at that point what happened?
16 A Peppas.                                                    16 A The county made it our system, vote it in and make
17 Q Okay. Has Act 372 been discussed at all?                   17 the rules on how it would operate and that sort of thing.
18 A No.                                                        18 Q And when you say voted in, are you talking about the
19 Q Has this lawsuit been discussed at all?                    19 Quorum Court voted to create the system?
20 A No.                                                        20 A Yes, there's an interlocal agreement.
21 Q Has the other lawsuit been discussed at all?               21 Q And as part of that, does the system have a
22 A No.                                                        22 explicitly set out set number of powers?
23           MR. MCLELLAND: Object to form.                     23 A We have a handbook and rules to go by and all that,
24 BY MR. ADAMS:                                                24 yes.
25 Q Virden versus Crawford County, the one to have the         25 Q Are you aware of -- well, in your tenure as Executive


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 1 Social Section books moved out that's different from this     1 Director, did the Crawford County Library System ever --
 2 lawsuit, that hasn't been discussed either?                   2 was it ever a plaintiff in a lawsuit?
 3 A No.                                                         3 A No.
 4 Q Are you familiar with Justice Peppas' view about the        4 Q Are you aware if you had the authority to initiate
 5 appropriateness of LGBTQ books in the children's section?     5 that sort of lawsuit?
 6 A No.                                                         6 A I don't think it's mentioned.
 7 Q Okay. That's all. Thank you.                                7 Q And when you say it's not mentioned, it's not
 8 A Okay.                                                       8 mentioned in the handbook?
 9               EXAMINATION                                     9 A In the interlocal agreement.
10 BY MR. WATSON:                                               10 Q Okay. And I'm just making sure that we're on the
11 Q All right. Ms. White, I'm Noah Watson. I know we           11 same. As far as you're aware, the Crawford County Library
12 met earlier. Hopefully I can keep things short and we can    12 System does not have authority to initiate a lawsuit?
13 keep moving. Thank you for being here.                       13 A I don't know.
14     I want to generally ask what I call three buckets.       14 Q I want to just make sure I understand the reporting
15 One is going to be about the Crawford County Library         15 structure of the library system. Could you walk me
16 System and its history that you've been a part of and        16 through that, just starting at the bottom of the staff and
17 contributed to. The second one is going to be more           17 then who they report to and then all the way up the chain?
18 specifically about the materials, items, books generally     18 A The staff is under the Crawford County Library
19 in the collection, and then I'm going reserve a third        19 Director, I'm under the Board.
20 category of miscellaneous questions that I might be able     20 Q And does the Board report to anyone?
21 to work in somewhere else, but I might have to just put      21 A No.
22 there.                                                       22 Q Other than I guess that you did mention earlier -- is
23     So starting with kind of the history, the Crawford       23 it the county judge who appoints members to the board?
24 County Library System, did I hear you say earlier that it    24 A They have -- they have to approve our budget.
25 was created in 1999 when you came on?                        25 Q Okay. They, being the Quorum Court?


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 1 A Yes.                                                         1 material or performance that depicts or describes nudity,
 2 Q Okay. So you would agree that the Crawford County            2 sexual conduct, sexual excitement or sadomasochistic
 3 Library System is part of the government structure?            3 abuse."
 4 A It is a county department, I guess you would call us.        4     When you were talking with Mr. Adams earlier and he
 5 Q Okay. Just making sure we're on the same page there.         5 read the long definition of harmful to minors, it included
 6 A We might not be recognized as that, but, yes.                6 those same topics, but it also included that the item be
 7 Q What do you mean by you might not be recognized as           7 taken as a whole in relation to those topics.
 8 that?                                                          8     So I'm going to ask these one at a time. First of
 9 A Well, they only recognize us when it is something            9 all, do you understand the terms that I just read; nudity,
10 that they want, not us.                                       10 sexual conduct, sexual excitement, or sadomasochistic
11 Q Okay. Understood. So that is the end of the first           11 abuse?
12 category, so I'm going to move on to a couple of questions    12 A Yes.
13 about the collection of books generally and materials.        13 Q And I suspect I know the answer to this, but I just
14     Earlier you mentioned, when Mr. Adams was going           14 want to make sure it's on the record, does the Crawford
15 through Section 5 on Page 7, "Each county or municipal        15 County Library System, to your knowledge, have any books
16 library shall have a written policy to establish              16 that are, as a whole, about any of those topics?
17 guidelines for the selection, relocation and retention of     17 A Yes.
18 physical materials that are available to the public."         18 Q Okay. Are you aware of any of those books, as we sit
19     Did I understand you to say that Crawford County          19 here?
20 Library System has such policies?                             20 A We have lots of art books that have nudity in it.
21 A Yes.                                                        21 Q And those are predominately about nudity in them?
22 Q Okay. And what are those policies based on? And             22 A No, they're about art.
23 specifically I'm talking about selection, because there's     23 Q Okay. I mean, we don't have to go into this whole
24 three here. So what is the basis for the policy of            24 legal definition. I know you're not a lawyer and this is
25 selection?                                                    25 kind of our fight; we have the fight about the words in


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 1     That question probably doesn't make a lot of sense,        1 the statute. But one of the reasons a material would not
 2 so let me just rewind and start over here.                     2 count as harmful to minors, is if it is -- it had
 3     What is the selection policy for the Crawford County       3 literary, scientific, medical, artistic or political value
 4 Library?                                                       4 to minors.
 5 A It's rather lengthy, so I can't tell you.                    5     Are you aware of any books, other than these art
 6 Q Fair enough. Does it identify specific genres of             6 books, that would fit in this description that's about --
 7 books that are allowed, versus not allowed?                    7 predominantly about nudity, sexual conduct, sexual
 8 A No.                                                          8 excitement or sadomasochistic abuse?
 9 Q Now, if you turn one page over to Page 8, and this is        9 A Adult books, yes. In the adult section we have some
10 going to be what's starting on Line 10. It's talking          10 that would be in one of these categories.
11 about the library committee that is eventually reviewing a    11 Q Okay. And of those books, are they -- is it just a
12 challenged material. It says: "The committee established      12 few pages in the books that involve those topics, or is it
13 under subdivision (c)(6)(A) of this section shall             13 the whole work?
14 determine if the material being challenged meets the          14 A We have thousands of books. I would imagine that it
15 criteria of selection."                                       15 could be either.
16     Are you aware of any material, in the Crawford County     16 Q Okay. It's okay if your answer is you're not aware.
17 Library System, that does not meet the criteria of            17 I'm just trying to figure out what the world of books
18 selection that Crawford County Library System has adopted?    18 there are, and if you're not aware, that's okay. Or am I
19 A No.                                                         19 misunderstanding your answer?
20 Q Okay. That is the only question I wanted to ask you         20 A Well, we have Fifty Shades of Grey, if that makes any
21 about Section 5. I want to quickly ask a question about       21 sense to you.
22 Section 1. This is the criminal provision.                    22 Q Okay. If there are any other books that you're aware
23     Specifically, if you look at Page 2, starting on Line     23 of, other than that, it would be helpful to know, but if
24 11, this is partially describing the items that are not       24 Fifty Shades of Grey is the outer limit -- I mean, I'm
25 allowed to be furnished to minors. "Item" means a             25 just trying to figure out what the boundaries of the --


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 1           MS. BROWNSTEIN: I'm going to object to the          1 issue, the competing factions is, I believe, a term that
 2        form. It's a very confusing question you're            2 you've used, and morale in the library.
 3        asking. I'm confused.                                  3    I think what you said is that all of those issues are
 4 A I have not read all the books in this library. I            4 not really related to Act 372. Did I understand you
 5 have no idea what's there, and there could be, but we try     5 correctly when you said that?
 6 to go by the community's view of what our library should      6 A Yes.
 7 be. That's what librarians do and, therefore, we try to       7 Q Thank you. That's all I've got. I appreciate you.
 8 provide what our public wants.                                8               EXAMINATION
 9 Q Okay. And I won't ask about any more specific books,        9 BY MR. MCLELLAND:
10 because I know y'all have a huge collection and I wouldn't   10 Q Good afternoon, Ms. White. I've just got a couple of
11 expect you to know every book, especially just off the top   11 questions as well, and then I'm sure Mr. Adams and the
12 of your head.                                                12 Plaintiffs will have a couple of follow-ups.
13     In Exhibit 7, it's going to be the third page under      13    What's your understanding of the lawsuit that you're
14 Sections 2 and 3, Ms. Chilcoat says: "I will eat several     14 giving this deposition in?
15 hats if anyone finds an item in one of their libraries       15 A Explain that, please.
16 that has been judicially found by a court to be obscene."    16 Q You're giving a deposition today right now, right?
17     Do you have any reason to disagree with that about       17 A Yes.
18 the Crawford County Library System?                          18 Q And it's in a lawsuit?
19 A Where is that?                                             19 A Right.
20 Q So it's going to be in the middle of Sections 2 and        20 Q What's your understanding of that lawsuit?
21 3, that heading.                                             21 A Well, I think I understand it.
22 A Read it again.                                             22 Q Okay. What is it? I'm just trying to see what's
23 Q Yes, ma'am. "So I will eat several hats if anyone          23 your understanding of what the lawsuit is, if you could
24 finds an item in one of their libraries that has been        24 explain it to me.
25 judicially found by a court to be obscene."                  25 A It's trying to set limits on what libraries can do.


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 1     Do you have any reason to disagree with that?             1 Q Okay.
 2 A No, I do not.                                               2 A And how they do it, and also making it a criminal
 3 Q Okay. And this will be the last question on this            3 offense if we allow an item to a minor that somebody can
 4 topic, and it's a step back. So with the policy for           4 object to.
 5 selection, is there any other limit on -- well, let me        5 Q Okay. And those parameters are set forth in a
 6 establish this first.                                         6 specific Act; is that right?
 7     Is it the executive director who makes those              7 A Act 372.
 8 purchases for new books coming into the library?              8 Q Act 372; is that correct?
 9 A We have several people that do that.                        9 A Yes.
10 Q Okay. Is there any other limits on what books may be       10 Q And are you aware that Crawford County is involved in
11 brought into the library, other than that policy?            11 this lawsuit?
12 A No.                                                        12 A Yes.
13 Q So it's at the discretion of the people making the         13 Q Are you aware that Crawford County is involved in a
14 decision?                                                    14 second lawsuit that's titled Virden versus Crawford
15 A Right.                                                     15 County, et al?
16 Q The last one I want to come to, I only have two            16 A Yes, sir.
17 questions here and I'm not sure it will extend further       17 Q And in this lawsuit, is it your understanding that
18 than this, but hopefully it's just two. I'm going to make    18 the Plaintiffs are trying to stop Section 1 and Section 5
19 it just one, actually.                                       19 of Act 372 from going into effect?
20     Sorry, I think out loud, so I apologize for that.        20 A Yes.
21             MS. BROWNSTEIN: No kidding.                      21 Q Okay. Did Crawford County Library System ever
22 BY MR. WATSON:                                               22 implement Section 5 of Act 372?
23 Q Earlier with Mr. Adams you were detailing a number of      23 A No.
24 problems that -- I think that's the word you used;           24 Q Do you recall discussing the Social Section with
25 problems or issues. You mentioned the ADA grant and that     25 Mr. Adams earlier?


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 1 A Yes.                                                        1 A I shouldn't have, but, yes, I do.
 2 Q Do you know when the Social Section was created?            2 Q Okay. What are those concerns?
 3 A Immediately after the December meeting of the Quorum        3 A That the fact -- one of the factions would try to
 4 Court.                                                        4 shut us down.
 5 Q And it's my understanding that by the time the              5 Q Okay. Is it fair to summarize your testimony -- is
 6 January 10th meeting rolled around for the Library Board,     6 it fair to summarize your testimony to say that the Social
 7 I believe Diedre stated at that meeting that the Social       7 Section was a compromise designed to try to keep the
 8 Section had been created.                                     8 library doors open?
 9    Is that your understanding?                                9 A Yes.
10 A Yes.                                                       10 Q And do you remember talking earlier about the
11 Q So the Social Section -- is it fair to say, and            11 specific -- you talked about some of the books kind of in
12 correct me if I'm wrong, is it fair to say that the Social   12 the Social Section with Mr. Adams, about how they were
13 Section was made some time between that December Quorum      13 identifiable from a distance and how they have the green
14 Court meeting and that January 10th Library Board meeting?   14 label.
15 A Yes.                                                       15     Do you remember discussing that with him?
16 Q And you described the Social Section as a compromise.      16 A Yes.
17 Do you remember that?                                        17 Q Are there any other books, in the Crawford County
18 A Yes.                                                       18 Library System, that use spine labels?
19 Q It was a compromise between two factions; is that          19 A Yes.
20 right? I think that's what you said earlier?                 20 Q And is one of those categories of books large print?
21 A No.                                                        21 A Yes.
22 Q Oh, okay. What was it a compromise between?                22 Q Westerns?
23 A It was a compromise between the county government and      23 A Yes.
24 the library.                                                 24 Q YA?
25 Q Okay. And what was the county government seeking in        25 A Yes.


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 1 the -- typically in a compromise one side is seeking one      1 Q Mystery?
 2 thing and the other side is seeking another. So what was      2 A No.
 3 the county government seeking?                                3 Q Okay.
 4 A Removal of the books.                                       4 A Well, maybe, yeah, one branch or the other.
 5 Q Okay. And what was the library seeking?                     5 Q Yeah, that's fair; that's fair.
 6 A To not remove them.                                         6     Do you remember discussing one of these exhibits with
 7 Q Okay. And the compromise that was created, was it --        7 Mr. Adams that he said was a letter from Ms. Hamby? Do
 8 A To move it.                                                 8 you remember discussing that with him?
 9 Q Was it to just move it; is that right?                      9 A Yes.
10 A Yes.                                                       10 Q Did she ever -- did Ms. Hamby ever show you this
11 Q And not remove the books; is that correct?                 11 letter?
12 A Right.                                                     12 A No.
13 Q And the movement of the books resulted in the              13 Q Did she send this letter to you?
14 creation of the Social Section; is that correct?             14 A No.
15 A That's correct.                                            15 Q Did this letter ever come up in conversation between
16 Q Okay. If the Social Section was to be removed and          16 the two of you?
17 disbanded through, you know, litigation or other means, do   17 A No.
18 you have any concern of what would happen to the library?    18 Q Okay. And Tammi Hamby was appointed to the Library
19 A Removed or disbanded, that's two different terms.          19 Board; is that correct?
20 Q I'll rephrase. If the Social Section has to be             20 A Yes.
21 disbanded and the books that are in the Social Section       21 Q And when she was appointed, she was made Chairman; is
22 currently throughout all the five branches, the books that   22 that right?
23 are there go back to the place that they were before they    23 A Yes.
24 were in the Social Section, do you have any concern about    24 Q Do you know if Ms. Hamby, as Chairman of the Library
25 what would happen to the library in such a case?             25 Board, has a vote --


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 1 A No.                                                           1 counter and wanted to check it, would you check it out to
 2 Q -- on that Board? She does not?                               2 them?
 3 A No.                                                           3 A Probably.
 4 Q Okay. Do you remember discussing the ALA grant with           4 Q If a ten-year-old brought it up to the counter and
 5 Mr. Adams just a few minutes ago?                               5 wanted to check it out, would you check it out to them?
 6 A Yes.                                                          6 A No.
 7 Q Did the Crawford County Quorum Court -- was that              7 Q Okay. Is it currently in an area of the Crawford
 8 grant ultimately approved?                                      8 County Library inaccessible to minors under the age of 18?
 9 A Yes.                                                          9 A No.
10 Q And the funding was given to the library?                    10           MR. ADAMS: And I'll just state for the
11 A Yes, the next week.                                          11        record that Judge Chris Keith and Miel Partain,
12 Q Okay. And do you know -- the meeting that that money         12        who are both parties to the case, are here.
13 was approved at, were you in attendance?                       13 BY MR. ADAMS:
14 A Yes.                                                         14 Q Okay. I think that's all I had on Mr. Watson's
15 Q Was that an emergency meeting?                               15 questions.
16 A Yes.                                                         16     Okay. So the follow-ups on Mr. McLelland's
17           MR. MCLELLAND: That's all I've got.                  17 questions, I guess the one -- the one sort of mismatch
18            FURTHER EXAMINATION                                 18 between what I understood from your testimony and from
19 BY MR. ADAMS:                                                  19 what your testimony -- from your talk with me and from
20 Q Okay. I have a few follow-ups. I'll start with               20 what you told him, not that they're necessarily
21 follow-ups on Mr. Watson's questions.                          21 inconsistent, but I want to make sure that I see how they
22    He asked you to read a section of Jennifer Chilcoat's       22 fit together.
23 guidance from Exhibit 7, which you may want to look at         23     You were admirably reluctant to speculate about the
24 again, where it says, "I will eat several hats if anyone       24 motives of the Quorum Court when you spoke to me. When
25 finds an item in one of your libraries that has been           25 you spoke to Mr. McLelland, you also described the Social


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 1 judicially found by a court to be obscene."                     1 Section as a compromise, not between two competing
 2     Do you recall what Sections 2 and 3 that that               2 factions of the county, but between librarians who had
 3 discussion is about had to do with?                             3 made an assessment of what books belonged in the library
 4 A No.                                                           4 and the Quorum Court, who wanted some of those books taken
 5 Q Do you recall if they have to do with harmful to              5 out of the library, right?
 6 minors, or a different definition of obscenity?                 6 A Right.
 7 A I don't know.                                                 7 Q So the compromise was rather than take them out,
 8 Q Okay. The other thing he brought up, is that the              8 we're going to create a new special section for those
 9 definition of harmful to minors talks about the work taken      9 books. Did I understand that correctly?
10 as a whole, and so a book might include a passage about        10 A Yes.
11 sex, but not predominantly be about sex and you brought        11 Q Okay. So it seems like buried in there is the
12 up, in that context, Fifty Shades of Grey, which I've not      12 understanding that the county government wanted -- the
13 read and I'm not going to ask you if you did.                  13 Quorum Court specifically wanted some of the books in the
14 A I didn't either.                                             14 county library taken out of the library?
15 Q I wasn't going to ask. But I do understand it was a          15 A Yes.
16 bestseller about a dozen years ago and it has a lot to do      16 Q And can you say, in a sentence, what those books have
17 with sex.                                                      17 in common?
18 A Yes.                                                         18 A LGBTQ.
19 Q There's lot of sex in it, and it was in a lot of             19 Q Even shorter than a sentence; five letters.
20 demand, right?                                                 20     I guess I wanted to ask again about, specifically,
21 A We had several copies and had to buy more.                   21 the nature of the LGBTQ books, because it seems to me that
22 Q Okay. So a lot of people in Crawford County wanted           22 if there was a book that addressed the existence of
23 to read that book, correct?                                    23 same-sex couples, for example, but was making an argument,
24 A Yes.                                                         24 for example, prior to the Obergefell decision that the
25 Q If a seventeen-year-old brought that up to the               25 Supreme Court handed down that said that same-sex couples


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 1 have a right to get married, if it was arguing that             1 Mr. Meadors are?
 2 same-sex couples shouldn't have a right to get married,         2 A I've heard of Mr. Meadors and I don't know Mr. Cain.
 3 for whatever reason, it certainly seems, from this letter       3 Q What have you heard about Mr. Meadors?
 4 that the Hambys sent to the JPs, that they wouldn't have        4 A He was a lawyer that did a Cedarville thing with
 5 any objection to that being in the collection, right?           5 Harry Potter; never met him.
 6           MR. MCLELLAND: Object to form.                        6 Q Yep, 20 years ago, the Counts case.
 7 A I don't know.                                                 7     Do you know of any current connection he has to the
 8 Q You don't know?                                               8 library disputes?
 9 A Don't know.                                                   9 A What?
10 Q Their stated objection is to normalizing and equating        10 Q Do you know of any current connection he has to the
11 homosexual and transsexual lifestyles with heterosexual        11 library disputes?
12 family units, right?                                           12 A Yes, he's the lawyer for the Virden case.
13 A Uh-huh.                                                      13 Q Okay. Good. So this letter was from Gentry
14 Q So if there's a book that happens to touch on the            14 Wahlmeier to Mr. Cain and Mr. Meadors, who were the
15 existence of same-sex couples, but stigmatizes or refuses      15 attorneys for the Plaintiffs in the Virden lawsuit.
16 to equate them with same-sex couples, presumably that          16 A Yeah.
17 would not be a problem to Dr. and Ms. Hamby, right?            17 Q And it said this firm represents Crawford County's
18           MR. MCLELLAND: Object to form.                       18 Quorum Court and the Quorum Court is in receipt of your
19           MR. WATSON: Object to form.                          19 email dated May 18th. The email also contains a draft
20 A I don't know what they think.                                20 Complaint of a civil case in the Western District of
21 Q Okay. Fair enough. I guess the other question you            21 Arkansas. Do you see that?
22 gave a flat answer to that I think was consistent, was the     22 A Uh-huh.
23 library didn't take any measures to implement Act 372; is      23 Q Okay. Mr. Wahlmeier makes reference to the balancing
24 that correct?                                                  24 test between the freedom of an unbounded First Amendment
25 A Yes.                                                         25 and protecting children from exposure to material that


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 1 Q Do you recall ever getting some advice in writing             1 might harm their innocence. Do you see that part?
 2 from Gentry Wahlmeier about Act 372?                            2 A Yes.
 3 A The only thing that I remember getting from him about         3 Q And in the beginning of the third paragraph it says:
 4 that was his letter that he would no longer be our lawyer       4 "This balancing test is coming to the forefront of the
 5 because of it.                                                  5 national conversation. At the state level, Act 372 passed
 6 Q Okay. I don't want to get that in the record, just            6 the legislature and is going into effect shortly. It's
 7 to make sure we're talking about the same thing, so I           7 effect will be to require libraries to have a section that
 8 think -- are we on 7 or 8.                                      8 is inaccessible to minors. Quorum Courts across the state
 9           MS. BROWNSTEIN: Eight.                                9 will hear appeals on relocation of books within county
10           MR. ADAMS: Okay. Exhibit 8.                          10 library systems. The State Legislature's Act 372 will
11   (Exhibit No. 8 was marked & attached hereto.)                11 make it necessary to continue modifying and changing the
12 Q Is this the letter you're talking about?                     12 library system's policies and procedures."
13 A Yes.                                                         13     Do you see that?
14 Q Okay.                                                        14 A I see it.
15   (Exhibit No. 9 was marked & attached hereto.)                15 Q So when he says continue modifying and changing the
16    Exhibit 9 is a letter Mr. Wahlmeier sent the same           16 library system's policies and procedures, that suggests to
17 day. Do you mind reading that and telling us if you've         17 me that there were some modifications that were in effect
18 seen that one?                                                 18 before.
19 A No, I had not seen it.                                       19     Do you have a sense, based on this letter, what
20 Q So you've never seen this one?                               20 modifications he was talking about?
21 A No.                                                          21 A Well, I assume, and this is an assumption, that he
22 Q Okay. So I'm looking at the one now that is directed         22 was talking about our Social Section.
23 to Mr. Cain and Mr. Meadors.                                   23 Q Okay. And in the middle of the final paragraph, it
24 A I've never seen it.                                          24 says, "When the conversation began that sexualized
25 Q You've never seen it. Do you know who Mr. Cain and           25 material was in the children's section of the libraries


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 1 within the system, justices simply stated that a               1    You said that if a seventeen-year-old came up with
 2 compromise should be reached."                                 2 Fifty Shades of Grey, that you would let them check it
 3     Is that -- is that how you read that?                      3 out; if it was a ten-year-old you'd probably say no.
 4 A Yeah.                                                        4 A That's my personal opinion.
 5 Q So is that compromise about the Social Section?              5 Q And so if you were the person that had the checkout
 6 A I have no idea.                                              6 desk, though, you would make that call?
 7 Q Okay. And finally he says, "No direction or                  7 A I would make that call, or at least talk to their
 8 supervision was implemented."                                  8 parents before I let them do it.
 9     Is it accurate to say that no supervision of the           9 Q Sure. Is there any library policy about that?
10 libraries was done by the Quorum Court?                       10 A No.
11 A You know the story.                                         11 Q And so it just differs from librarian to librarian?
12 Q I guess we'll leave it at that. Thank you.                  12 A Yes.
13                EXAMINATION                                    13 Q Okay. Thank you.
14 BY MS. BROWNSTEIN:                                            14            MR. MCLELLAND: Reserve all for trial.
15 Q I have one or two. You said that the library's              15        Read and sign.
16 responsibility is to provide what the community wants; is     16            MR. ADAMS: I think we're done. Thank you.
17 that right?                                                   17          (WHEREUPON, at 1:15 pm, the
18 A Yes.                                                        18           above deposition concluded.)
19 Q And is that all members of the community?                   19
20 A Yes.                                                        20
21 Q Not just one faction or another?                            21
22 A No.                                                         22
23 Q And you also said that you were concerned that there        23
24 would be a faction trying to shut the library down?           24
25 A Yes.                                                        25


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 1 Q And is that in the context of Act 372?                       1   STYLE OF CASE: Fayetteville Public Library, et al vs.
 2 A No.                                                          2   Crawford County, et al
 3 Q Is that what's happening now?                                3   WITNESS: Eva Doyce White
 4            MR. MCLELLAND: Object to form.                      4
 5 BY MS. BROWNSTEIN:                                             5            SIGNATURE PAGE FOR WITNESS
 6 Q You're concerned that a faction of the community is          6
 7 trying to shut the library down; is that right?                7       I hereby certify that I have read the above and
 8 A That's my fear.                                              8   foregoing transcript of my testimony, and that this
 9 Q And what faction is that?                                    9   transcript, together with any corrections as shown on the
10 A The same one that's tried to shut it down before.           10   following page, is a true record of my testimony given at
11 Q And what faction was that?                                  11   this deposition.
12 A Ms. Hamby and the elders.                                   12
13 Q And is it your concern that the Quorum Court, the           13   _____________________________      ________________________
14 government was going along with that?                         14     WITNESS SIGNATURE
15 A I don't know.                                               15
16 Q Is that your concern, that they would?                      16
17 A Yes.                                                        17      I certify that this deposition transcript was signed
18 Q Thanks. I have nothing further.                             18   in the presence of ______________________________ on the
19            FURTHER EXAMINATION                                19   ____________ day of _________________________, 2024.
20 BY MR. WATSON:                                                20
21 Q A very quick question. Earlier you were talking to          21
22 Mr. Adams and using the example of Fifty Shades of Grey.      22                  ____________________________
23 I'll continue that example without giving away whether or     23                     NOTARY PUBLIC
24 not it actually falls under the definition, but for these     24   MY COMMISSION EXPIRES:
25 purposes, let's use that.                                     25   _________________________


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Crawford County, Arkansas, et al                                                  March 26, 2024
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 1              ERRATA SHEET OF EVA DOYCE WHITE
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 1                    C E R T I F I C A T E
 2
     STATE OF ARKANSAS }
 3                     }
     COUNTY OF FAULKNER}
 4
     RE:   ORAL DEPOSITION OF EVA DOYCE WHITE
 5
     I, Michelle R. Satterfield, CCR, a Notary Public in and
 6   for Faulkner County, Arkansas, do hereby certify that the
     transcript of the foregoing deposition accurately reflects
 7   the testimony given; and that the foregoing was
     transcribed by me, or under my supervision, on my Eclipse
 8   computerized transcription system from my machine
     shorthand notes taken at the time and place set out on the
 9   caption hereto, the witness having been duly cautioned and
     sworn, or affirmed, to tell the truth, the whole truth and
10   nothing but the truth.
     I FURTHER CERTIFY that I am neither counsel for, related
11   to, nor employed by any of the parties to the action in
     which this proceeding was taken; and, further that I am
12   not a relative or employee of any attorney or counsel
     employed by the parties hereto, nor financially
13   interested, or otherwise, in the outcome of this action.
     In accordance with the Arkansas Rules of Civil Procedure,
14   Rule 30(e), review of the foregoing transcript by the
     witness was not requested by the deponent or any party
15   thereto.
     GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 4th day
16   of April 2024.
17
18
19
20
                              _________________________________
21                              Michelle R. Satterfield, CCR
                                LS Certificate No. 570
22                              Notary Public in and for
                                Faulkner County, Arkansas
23
24
25


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